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                               EXHIBIT 29




                               EXHIBIT 29



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                               EXHIBIT 30



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       News
       3rd November 2016


       Businessman stole £426,000 from company's accounts
       despite being given "numerous second chances"
       By Alex Winter




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                                                                                                                        Most read            Commented
                                                                                                                                        Man dies after he's
                                                                                                                   1                    found unconscious
                                                                                                                                        in Boscombe Chine
                                                                                                                                        Gardens with area
                                                                                                                                        cordoned off by
                                                                                                                                        police

                                                                                                                                        Bloodied man who
                                                                                                                   2                    staggered into
                                                                                                                                        Winton's KFC had
                                                                                                                                        been stabbed
                                                                                                                                        repeatedly with
                                                                                                                                        shattered wine
       James Milton Howard-Higgins                                                                                                      bottle

                                                                                                                                        Smyths set to open
                                 7 comments                                                                   3                    at former Toys R Us
                                                                                                                                        site

        ADVERTISEMENT
                                                   Earn $200 with a new account
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                                                                                                                                           is what'son
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                                                                                                                                        Aldi 'Aisle of Dreams'
                                                                                                                                        this week

                                                                                                                                        Every set of
                                                                                       Promoted by Regions Bank
                                                                                                                   5                    roadworks currently
                                                                                                                                                         Exhibit 30
                                                                                                                                                         Page 543
                  Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 6 of 129 Page ID #:1757
                                                                                                            causing problems for
A BUSINESSMAN has been jailed after stealing more than £400,000 from his                                    drivers in
company's accounts.                                                                                         Bournemouth and
                                                                                                            Poole (as council
James Milton Howard-Higgins was the co-founder of Orchid Maritime Security Ltd                              says 'get a bus')
based in Poole.

Around three years ago, it was discovered that the 44-year-old had stolen around
£260,000 from the company, a consultancy practice specialising in maritime security
and training solutions.

Howard-Higgins, of the Avenue in Poole, admitted the offences to the director and it
was decided that the debt would be absorbed into the company.




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                                                                                                            Claims dogs are
                                                                                         6                  being stolen from
                                                                                                            Tuckton and used as
                                                                                                            bait by 'gang in
                                                                                                            white Nissan van' are
                                                © 2019 Best Buy
                                                                                                            just rumours, police
                                                                                                            say
He had his credit cards removed and his dealings with company money were closely
monitored.                                                                                                  Letter to the editor:
                                                                                         7                  Getting to the
In November 2014 it was discovered that Howard-Higgins had taken out another                                airport is an ordeal
company credit card in the name of a woman who had nothing to do with the
business.
                                                                                                            GALLERY: Thousands
The matter was again dealt with internally and Howard-Higgins was forced to stand        8                  take part in
down as a director and downgrade his shares.                                                                Bournemouth
                                                                                                            Marathon Festival
He was also removed as a signatory on the account in December 2014.                                         marathon and half-
                                                                                                            marathon
In April 2015 questions were raised over money not being received and outstanding
invoices, the court was told.
                                                                                                            'Parkstone is
Enquiries were made and the company director discovered that vast sums of money
                                                                                         9                  becoming the new
had been paid into Howard-Higgins’ personal account. Howard-Higgins resigned and                            Boscombe' say
admitted stealing the money. In total, £426,406 was stolen.                                                 'vigilante' residents
                                                                                                            as Ashley Road gets
The matter was reported to Dorset Police and Howard-Higgins was arrested. He was                            new police of cer
charged in February this year.
                                                                                                            Ryanair ight due to
The defendant admitted seven counts of fraud.                                            10                 land at
                                                                                                            Bournemouth
On Monday, October 31, he appeared at Southampton Crown Court and was sentenced
                                                                                                            Airport diverted to
to three years in prison.
                                                                                                            Bristol due to
Detective Constable Michelle Lawrence, of Bournemouth CID, said: “James Howard-                             "technical issue"
Higgins systematically stole from his business partner over a sustained period of time
despite being caught in the act and given numerous second chances.
                                                                                                                     Read more 
“He sel shly abused his position of trust and I hope the sentence given will act as a
reminder that anyone convicted of fraud offences will be dealt with robustly by the
courts.”




                                                                                                                                     
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                                                                                                                           
                                                                                                                                     7    MENU


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                                                                                                        community
Howard-Higgins was also disquali ed as acting as a co-director of a company for 10
years and was told Proceeds of Crime proceedings would begin.
                                                                                                                             Exhibit 30
                                                                                                                             Page 544
                      Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 7 of 129 Page ID #:1758
                                                                                        Send your stories and photos now
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Body of missing nurse found in car in river
BOURNEMOUTH ECHO




Wartime US bomber crash leaves at least ve dead
BOURNEMOUTH ECHO




 Husband 'killed pregnant wife following suspicions he was
 having relationship with teen', court hears
 BOURNEMOUTH ECHO



In the Dock: Ten people from Bournemouth and Poole to appear
before the courts
BOURNEMOUTH ECHO


Woman secretly lmed as she slept at home where AFC
                                                                                                                            
                                                                                                                               7    MENU

Bournemouth youth players had previously stayed
BOURNEMOUTH ECHO




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                                                                                                                       Page 545
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News
15th July

Two teenage boys stabbed in Boscombe leaving one ghting for
his life
By Jade Grassby     @JadeDailyEcho




Two teenage boys stabbed in Boscombe leaving one ghting for his life

A TEENAGER is ghting for his life after being stabbed in Boscombe.
                                                                                                        Continue reading 




News
21st August
                                                                                                                   7    MENU



Armed police respond to reports of man with a gun in
Bournemouth
                                                                                                                Exhibit 30
                                                                                                                Page 546
                     Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 9 of 129 Page ID #:1760
By Jason Lewis  JasonDailyEcho
Multimedia Reporter




Armed police respond to reports of man with a gun in Bournemouth

ARMED police descended on the Lower Gardens in Bournemouth town centre after reports of a man with a gun half a mile away.
                                                                                                                       Continue reading 




News
16th August

Body of man found at Pelhams Park in Bournemouth
By Jim Durkin




                                                                                                                                  7    MENU




                                                                                                                               Exhibit 30
                                                                                                                               Page 547
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Body of man found at Pelhams Park in Bournemouth

POLICE sealed off a piece of land close to a popular children’s play area in Bournemouth after a body of a man was discovered.
                                                                                                                           Continue reading 




News
12th July

Young boy, aged 12, charged with possession of knife following
'disturbance' at bus station
By Jim Durkin




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                                                                                                                                   Exhibit 30
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Young boy, aged 12, charged with possession of knife following 'disturbance' at bus station

A TWELVE year old boy has been charged with assault and possession of a knife after police were called to an alleged disturbance at Poole
Bus Station.
                                                                                                                        Continue reading 




 Beales reveals £3m loss – but boss                                            Man dies after he's found
 praises "big achievement" of keeping                                          unconscious in Boscombe Chine
 sales steady                                                                  Gardens with area cordoned off by
1                                                                             police
                                                                              7



                                                                             Every set of roadworks currently
                                                                             causing problems for drivers in
                                                                             Bournemouth and Poole (as council
                                                                             says 'get a bus')
                                                                               100




 Claims dogs are being stolen from                                             GALLERY: Thousands take part in
 Tuckton and used as bait by 'gang in                                          Bournemouth Marathon Festival
 white Nissan van' are just rumours,                                           marathon and half-marathon
                                                                                                          
                                                                                                                                          7   MENU


 police say
 27


                                                                                                                                 Exhibit 30
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  Bloodied man who staggered into                                                             GALLERY: 15,000 runners of all ages
  Winton's KFC had been stabbed                                                               take part in Bournemouth Marathon
  repeatedly with shattered wine bottle                                                       Festival
  14                                                                                      1



  3,500 Bournemouth residents can                                                             This is what's on offer in the Lidl and
  register for Vodafone's extra-fast                                                          Aldi 'Aisle of Dreams' this week
  gigabit broadband                                                                         73

  10



   Most popular            Commented


  1     Man dies after he's found unconscious in Boscombe                              2        Bloodied man who staggered into Winton's KFC had
        Chine Gardens with area cordoned off by police                                          been stabbed repeatedly with shattered wine bottle


  3     Smyths set to open at former Toys R Us site                                    4        This is what's on offer in the Lidl and Aldi 'Aisle of
                                                                                                Dreams' this week


  5     Every set of roadworks currently causing problems for                          6        Claims dogs are being stolen from Tuckton and used
        drivers in Bournemouth and Poole (as council says                                       as bait by 'gang in white Nissan van' are just rumours,
        'get a bus')                                                                            police say

  7     Letter to the editor: Getting to the airport is an ordeal                      8        GALLERY: Thousands take part in Bournemouth
                                                                                                Marathon Festival marathon and half-marathon


  9     'Parkstone is becoming the new Boscombe' say                                  10        Ryanair ight due to land at Bournemouth Airport
        'vigilante' residents as Ashley Road gets new police                                    diverted to Bristol due to "technical issue"
        of cer

 11     Luiz heads Arsenal to victory over battling Cherries                          12        3,500 Bournemouth residents can register for
                                                                                                Vodafone's extra-fast gigabit broadband


 13     Have you seen missing 16-year-old Khadija                                     14        Wales boss Giggs provides injury update on Cherries
        Cordingley?                                                                             star Brooks


 15     This historic manor that inspired Thomas Hardy is on                          16        Looking to give a dog a home? This is why you should
        the market                                                                              get a rescue pet instead of a puppy


 17     'I don’t think he ate for a couple of days, which for an                      18        GALLERY: 15,000 runners of all ages take part in
        athlete is not good'                                                                    Bournemouth Marathon Festival


 19     GALLERY: Bournemouth Marathon Festival Supersonic                             20        PICTURES: Can you give any of these pets a forever
        10k                                                                                     home?


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                                                                     REPORTING TO YOU



  TECH


  Elon Musk Hired A Convicted Felon To
  Investigate The Cave Rescuer Who Is
  Now Suing Him
  The Tesla CEO paid James Howard-Higgins more than $50,000 to look into
  a man he thought was a pedophile. Musk, however, failed to examine
  Howard-Higgins’ past.

  By Ryan Mac and Mark Di Stefano
         Reporting From
         London
  Posted on October 3, 2019, at 3:55 p.m. ET




  Jim Watson / AFP / Getty Images



                                        Elon Musk Hired A Convicted Felon To Exhibit
                                                                             Investigate
                                                                                     31  The Cav
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Case      Elon Musk publicly
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                          Document               cave rescuer
                                        Filed 10/07/19 Page 15 who
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  insulted him a “pedo guy” last year, the billionaire entrepreneur had
  no evidence to back up his claims. And while he later apologized for
  the outburst, the Tesla Motors and SpaceX CEO went on to hire a
  private investigator to dig up dirt that might support his
  unsubstantiated accusation.

  BuzzFeed News has found that the self-proclaimed private investigator
  whom Musk hired was a convicted felon and scammer.

  Public records and interviews reveal that the man Musk contracted,
  James Howard-Higgins, stole money from his business partners and
  was sentenced to three years in prison for fraud. Past associates of the
  man described the Englishman to BuzzFeed News as a “Walter Mitty
  character” who repeatedly defrauded a company he cofounded despite
  disciplinary actions that were meant to keep him in check.



  Recently released court documents from a defamation case in US
  federal court show that Musk retained Howard-Higgins after the self-
  proclaimed investigator cold-emailed him offering to “dig deep” into
  Vernon Unsworth, a British expat who played a key role in the rescue
  of a boys soccer team from a Thailand cave system in July 2018.
  Unsworth, who had criticized Musk’s efforts to involve himself in the
  cave rescue, is now suing the billionaire for publicly calling him a
  pedophile and “child rapist,” an allegation partly based on
  unsubstantiated information given to him by Howard-Higgins.

  Musk’s failure to effectively vet a private investigator he hired and his
  willingness to repeat serious and unfounded allegations against
  Unsworth are the latest in a series of public blunders for Tesla’s CEO,
  whose win-at-all-costs mentality has drawn him into a number of
  high-proﬁle ﬁghts with regulators, former employees, and
  shareholders. And it has renewed the concerns of institutional
                               Elon Musk Hired A Convicted Felon To Exhibit
                                                                    Investigate
                                                                            31  The Cav
                                                                        Page 553
  investors,
Case           some of whom
     2:18-cv-08048-SVW-JC    have sued
                          Document      to keep
                                   79 Filed       Musk
                                            10/07/19   from
                                                     Page 16 ofengaging
                                                                129 Pagein
                                                                         ID #:1767
  reputationally damaging arguments on Twitter.


  "If I’m sitting on that board, I’d say, 'Wow, does he
  take similar impulsive moves when he’s working on
  our company’s strategy?'"

  Public company executives should have “thicker skin,” said Columbia
  Business School adjunct professor William Klepper, noting that Musk
  has a ﬁduciary duty not to jeopardize billions of dollars of investment
  in his companies by acting like a “loose cannon.”

  “If I’m sitting on that board, I’d say, ‘Wow, does he take similar
  impulsive moves when he’s working on our company’s strategy?” he
  said.

  Musk and members of his staff did not respond to multiple requests
  for comment.

  With Musk facing a defamation suit from Unsworth, court documents
  prepared for his defense show that he and the head of his family ofﬁce
  explicitly retained Howard-Higgins to ﬁnd information that might
  support Musk’s claims that the cave rescuer was a pedophile. But these
  same documents also show that the billionaire entrepreneur’s staffers
  did little to vet the investigator, a 47-year-old man from Dorset in
  southwest England, who served 18 months of his three-year sentence
  in October 2016 for stealing more than £426,000 (about $525,000) from
  his company, Orchid Maritime Security Ltd.

  As a cofounder of Orchid Maritime, a private maritime security
  company based in the English seaside town of Poole, Howard-Higgins
  worked on sales and marketing, according to former business
  associates. Those associates told BuzzFeed News they noticed large
  amounts of money missing from company accounts and suspected
  Howard-Higgins was responsible.
                            Elon Musk Hired A Convicted Felon To Exhibit
                                                                 Investigate
                                                                         31  The Cav
                                                                      Page 554
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 17 of 129 Page ID #:1768




  James Howard-Higgins
  Courtesy of Bournemouth CID



  They were right. A local press report describing the incident noted that
  Howard-Higgins confessed to stealing around £260,000 ($320,000),
  though the company forgave their cofounder and absorbed the debt
  he’d accumulated.

  Following that incident, Howard-Higgins opened a credit card for the
  business under another person’s name and began racking up debt
  again, according to the report. After Orchid Maritime busted and
  disciplined him a second time, Howard-Higgins began directing
                            Elon Musk
  company funds into a personal         Hired A Convicted Felon To Exhibit
                                   account.                        Investigate
                                                                           31  The Cav
                                                                   Page 555
  “James
Case       Howard-Higgins
     2:18-cv-08048-SVW-JC   systematically
                          Document          stole from
                                   79 Filed 10/07/19   his18business
                                                     Page            partner
                                                             of 129 Page ID #:1769
  over a sustained period of time despite being caught in the act and
  given numerous second chances,” a detective constable wrote at the
  time of his arrest in 2016. “He selﬁshly abused his position of trust.”

  Charged with 14 counts of fraud, Howard-Higgins pleaded guilty to
  seven. He did not respond to multiple requests for comment.

  In a statement to BuzzFeed News, Mark Wood, another Orchid
  Maritime cofounder, likened his former business partner to Walter
  Mitty, a ﬁctional character known for indulging in fantastic
  daydreams about himself, and called him “manipulative, persuasive
  and coercive.”

  “The enormity of his deception and fraudulent actions within the
  business led me to call in the police,” he said.

  “With a prison record it ought to be difﬁcult to continue in this same
  line of business,” Wood added. “Sadly it appears not to be the case."

  “You May Want to Dig Deep”

  After being released from prison and barred from directorship of any
  UK-registered company for 10 years, Howard-Higgins revived an old
  venture he called Jupiter Military & Tactical Systems. There is no UK
  registration for the company, and sources close to Howard-Higgins
  described Jupiter as little more than an email account and a website.

  On July 17, 2018, the same day Musk had declared Unsworth a “pedo
  guy” for calling a mini submarine the billionaire contributed to the
  Thai cave rescue effort “a PR stunt,” Howard-Higgins reached out to
  the Tesla CEO from a Jupiter email address.

  “You may want to dig deep into Mr. Unsworth[‘s] past to prepare for
  his defamation claim,” he wrote in a note that was forwarded toExhibit 31
                            Elon Musk Hired A Convicted Felon To Investigate The Cav
  Musk’s personal assistant and then his chief of staff, Sam Teller.
                                                                  Page 556
  Omitting
Case          his full last name,
     2:18-cv-08048-SVW-JC         Howard-Higgins
                             Document 79 Filed 10/07/19identiﬁed
                                                         Page 19 ofhimself asID #:1770
                                                                    129 Page
  James Howard, CEO of Jupiter Military & Tactical Systems.

  “No smoke without ﬁre!” he added.




  James Howard-Higgins
  Provided to BuzzFeed News




  In early August of that year, Musk received a legal threat from Lin
  Wood, an attorney representing Unsworth, notifying the billionaire
  that the cave rescuer had retained counsel and was preparing a libel
  suit. Shortly thereafter, around Aug. 15, Musk directed Jared Birchall,
  the head of his family ofﬁce, Excession LLC, to retain “James Howard”
  according to Birchall’s sworn declaration in the Unsworth defamation
  case.

  Musk claims to have never directly spoken with the private
                             Elon Musk Hired A Convicted Felon To Exhibit
                                                                  Investigate
                                                                          31  The Cav
  investigator. But in a deposition, he said he thought Howard-Higgins
                                                                  Page 557
  “appeared
Case           to be credible”
     2:18-cv-08048-SVW-JC      based79
                           Document  onFiled
                                       information    given
                                             10/07/19 Page 20to
                                                              of him by ID #:1771
                                                                 129 Page
  Birchall, who was communicating with the investigator using the alias
  “James Brickhouse.” In emails sent by Howard-Higgins to Birchall, he
  claims to have spent 11 years in the UK special forces and two years
  with the United Kingdom’s security services with additional work for
  the likes of billionaires George Soros and Paul Allen.

  A representative for Soros found no evidence that Howard-Higgins
  had done work for the ﬁnancier or his related companies. One former
  colleague said the only connection between Howard-Higgins and Soros
  was that his uncle had done “property work” for the Hungarian
  American billionaire. Vulcan Inc., the investment and philanthropy
  ofﬁce of the now-deceased Allen, did not respond to a request for
  comment.

  Former colleagues disputed Howard-Higgins’ characterization of his
  military record. Mark Wood, his former business partner, said,
  “[Howard-Higgins] categorically never served in the police, military or
  any intelligence services.” The UK’s Home Ofﬁce did not respond to
  questions about Howard-Higgins.



  According to a web archive from August 2018, Jupiter’s now-defunct
  website — which featured a black and white phoenix symbol used by
  several gamers and a London-based electronic music producer — said
  the company provided bespoke “Government Police and Military
  Training Solutions,” and listed a PO box in Doha, Qatar, and an address
  in Berkeley Square, an upmarket area of Mayfair in London. In reality,
  the UK address is used by one of Howard-Higgins’ former business
  associates, who told BuzzFeed News the location is the registered
  headquarters of his current company, and not linked to Howard-
  Higgins.

  It appears that Birchall and Musk were not aware of any of this. After
  reviewing documents and Elon
                             supposed past work
                                 Musk Hired     provided
                                            A Convicted   by Howard-
                                                        Felon To Exhibit
                                                                 Investigate
                                                                         31  The Cav
                                                                     Page 558
  Higgins,
Case         Birchall “believed
     2:18-cv-08048-SVW-JC       Mr. Howard
                            Document          to be a capable
                                     79 Filed 10/07/19 Page 21 and
                                                               of 129credible
                                                                       Page ID #:1772
  investigator” and agreed to hire him for around $50,000. Meanwhile,
  Howard-Higgins was already feeding him unsubstantiated theories
  about Unsworth.

  “The target is unlikely to have a history of offending in the UK as this
  would already have come to the surface but I think like others that his
  motivations for residing in Thailand may unearth some unsavoury
  practises and relationships,” Howard-Higgins wrote to Birchall.

  Project Rowena

  The pair began regular contact on what they called “Project Rowena”
  — according to two sources, Howard-Higgins’ girlfriend is named
  Rowena. Birchall, posing as Brickhouse, would call or email Howard-
  Higgins, and relay whatever information he was given back to Musk.

  In email correspondence detailed in the court documents, Howard-
  Higgins’ made innuendo-laden claims about Unsworth and his
  associates, without providing any evidence to back them up.


  "We aren’t looking to frame anyone"

  “Early feedback on the target is there is indeed an unpleasant
  undertone to some of his lifestyle choices,” he wrote in an Aug. 17,
  2018, email to Birchall. “There is no question that the target
  'associates' locally with Europeans who enjoy 'Thai comforts' that are
  not acceptable in a developed society.”

  Birchall then followed with an email on Aug. 27, according to legal
  exhibits, asking for more explicit and exact details on Unsworth.
  Claiming that there were “planned attacks in the media and/or a
  lawsuit,” he sent a list of 14 speciﬁc questions asking for information
  about a possible divorce in the UK and whether Unsworth’s Thai
  partner was “the 10th teenageElon girl
                                    Musk heHired
                                            met Abefore he decided
                                                   Convicted       to Exhibit
                                                             Felon To settle.”
                                                                      Investigate
                                                                              31  The Cav
                                                                        Page 559
  “With
Case      that said, we aren’t
     2:18-cv-08048-SVW-JC      looking
                           Document 79 to frame
                                       Filed      anyone,”
                                             10/07/19      Birchall
                                                      Page 22 of 129 added.
                                                                     Page ID #:1773




  Vernon Unsworth with his MBE following an investiture ceremony at Buckingham Palace on June 12
  in London.
  Wpa Pool / Getty Images




  There is no evidence to suggest that Unsworth or his friends in
  Thailand behaved in the ways Howard-Higgins alleged.

  Birchall did not respond to an emailed request for comment.

  In his statement to the court, Birchall recalled that shortly after he
  retained Howard-Higgins, the investigator told him there was a Thai
  news article that claimed Unsworth’s Thai partner said she ﬁrst met
  him when she was 11 or 12. Birchall said he reported those details to
  Musk.

  But court documents include no evidence of the Thai news clipping
                          Elon Musk Hired A Convicted Felon To Exhibit
                                                               Investigate
                                                                       31  The Cav
  Howard-Higgins allegedly described to Birchall, and BuzzFeed News
                                                               Page 560
  was
Case    unable to ﬁnd it. Moreover,
     2:18-cv-08048-SVW-JC           two
                          Document 79    documents
                                      Filed           Howard-Higgins
                                            10/07/19 Page 23 of 129 Pagesent
                                                                         ID #:1774
  to Birchall explicitly note that the investigator had not conﬁrmed the
  age of Unsworth’s partner. In an Aug. 27 email, for example, Howard-
  Higgins color-codes her age as something he is “in the process of
  verifying.”

  “Mr Unsworth is 63 years old,” Howard wrote in a different, more
  formal report dated on Aug. 30, 2018 that was included in the
  defamation case’s ﬁlings. “His wife we believe is 30, (we will conﬁrm
  this in the next 48hrs) which would have put her at 18/19 when they
  ﬁrst met. The target would have been 52 yrs old at the time.”

  In September of last year, Unsworth’s longtime partner, Woranan
  Ratrawiphukkun, told BuzzFeed News she was actually 40. Lin Wood,
  Unsworth’s attorney, said in a statement to BuzzFeed News that the
  cave rescuer is not technically married to Woranan, but that he
  consider her his “partner and companion.”



  "I have faith in what Jared was conveying to me
  was an accurate retelling of this guy."

  It is not yet clear if Howard-Higgins ever managed to establish the
  true age of Unsworth’s partner. But it is obvious that the
  unsubstantiated, caveated claims he fed to Birchall made their way to
  Musk, who viewed it as proof of his allegations and eventually told a
  BuzzFeed News reporter over email that Unsworth was a “child rapist”
  who took a child bride. Attorneys for Musk and Unsworth have both
  requested testimony from BuzzFeed News.

  “I have faith in what Jared was conveying to me was an accurate
  retelling of this guy,” Musk said in a deposition earlier this summer. In
  further questioning by Unsworth’s lawyers, the billionaire also made it
  clear he never veriﬁed the information before relaying it to a reporter.
                              Elon Musk Hired A Convicted Felon To Exhibit
                                                                   Investigate
                                                                           31  The Cav
                                                                      Page 561
  “I 2:18-cv-08048-SVW-JC
Case just — I’d just been informed   of aFiled
                           Document 79     bad10/07/19
                                               fact pattern,”
                                                       Page 24he said.Page
                                                              of 129   “It ID #:1775
  seems like if a journalist cares about ﬁnding what’s going on, they
  should go ﬁnd out what’s going on. This is what I’ve been told. May or
  may not be true; please investigate.”

  Musk sent the email with supposed information about Unsworth to a
  BuzzFeed News reporter on Aug. 30, 2018.

  “I suggest that you call people you know in Thailand, ﬁnd out what’s
  actually going on and stop defending child rapists, you fucking
  asshole,” he wrote. “He’s an old, single white guy from England who’s
  been traveling to or living in Thailand for 30 to 40 years, mostly
  Pattaya Beach, until moving to Chiang Rai for a child bride who was
  about 12 years old at the time.”

  Musk has since defended his behavior by claiming “pedo guy” is South
  African slang for a creepy guy (though that’s been disputed) and
  arguing that he went after Unsworth because he feared he might be
  another Jeffrey Epstein. BuzzFeed News and Vanity Fair have since
  reported that Musk had been to several events with Epstein following
  the ﬁnancier's 2008 guilty plea for soliciting prostitution from an
  underage girl, and visited his house “several years ago.”

  Unsworth’s lawyer said in a statement that the documents released
  thus far in the case only tell Musk’s side, and that cave rescuer’s
  response to the defense’s motion for a dismissal of the case will reveal
  much more about “the falsity of his public statements.”

  “Mr. Unsworth’s response will focus on the actual sworn testimony
  and documents developed in this case rather than the manufactured
  misrepresentations, half-truths, omissions and smear tactics
  presented by Musk in his motion,” Wood said. “In sum, Musk had no
  credible or veriﬁed information at any time that supported his false
  accusations that Mr. Unsworth was a pedophile, a child rapist who
                               Elon Musk Hired A Convicted Felon To Exhibit
                                                                    Investigate
                                                                            31  The Cav
                                                                        Page 562
  married
Case         a 12-year old child
     2:18-cv-08048-SVW-JC        bride
                            Document 79orFiled
                                          lived  for 30 years
                                               10/07/19       inofPattaya
                                                        Page 25    129 Page ID #:1776
  Beach.”




  Photos posted to James Howard-Higgins' girlfriend’s private Instagram account after Elon Musk was
  sued last fall show the Brit traveling through the Middle East, visiting Wimbledon, staying at resorts,
  and eating at steakhouses.
  Provided to BuzzFeed News / Via Instagram




  With their response to Musk’s motion to dismiss the case for summary
  judgment expected next week, Unsworth’s legal team has dug in,
  seeking depositions from current and former executives at the
  billionaire’s companies and close conﬁdants. Meanwhile, little has
  been heard from Howard-Higgins. In a statement, Wood said he has
  been unable to locate the British man for questioning.

  Photos posted to his girlfriend’s private Instagram account after Musk
  was sued last fall show Howard-Higgins traveling through the Middle
  East, visiting Wimbledon, staying at resorts, and eating at
  steakhouses. That lifestyle, however, seems to have come to an end.

                                       Elon Musk Hired A Convicted Felon To Exhibit
                                                                            Investigate
                                                                                    31  The Cav
                                                                                             Page 563
  According
Case           to multiple sources,
     2:18-cv-08048-SVW-JC  Document Howard-Higgins    also 26
                                    79 Filed 10/07/19 Page recently  violated
                                                              of 129 Page ID #:1777
  the terms of his parole. Musk's private investigator is back in jail
  serving the remainder of his three-year sentence.




           Ryan Mac is a senior tech reporter for BuzzFeed News and is based in San Francisco.

           Contact Ryan Mac at ryan.mac@buzzfeed.com.

           Got a confidential tip? Submit it here.




           Mark Di Stefano is a media and politics correspondent for BuzzFeed News and is based in
           London.

           Contact Mark Di Stefano at mark.distefano@buzzfeed.com.




                                                                                                 Exhibit 31
                                                                                                 Page 564
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 27 of 129 Page ID #:1778




                                EXHIBIT 32




                                EXHIBIT 32



                                                                      Exhibit 32
                                                                      Page 565
      Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 28 of 129 Page ID #:1779

From:            Sam Teller [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                 {FYDI BO HF 23SPDLT)/CN=RECI PIENTS/CN=3BBD889935194BES BF3603B89339F 2AE-SAM TELLER]
Sent:            7/15/2018 10:34:11 AM
To:              Dave Arnold [dwarnold@tesla.com]
CC:              Laura Hardy [lhardy@tesla.com]; Sarah O'Brien [sobrien@tesla.com]
Subject:         Re: Media Enquiry re: CEO


Yeah

On Jul 15, 2018, at 12:04 PM, Dave Arnold <dwarnold@tesla.com> wrote:

           We should definitely just ignore these inquires.




           From: Laura Hardy <lhardy(o.ltesla.com>
           Sent: Sunday, July 15, 2018 10:03 AM
           To: Dave Arnold
           Cc: Sam Teller; Sarah O'Brien
           Subject: Re: Media Enquiry re: CEO

           Thanks both.
           Follow up email with a question to understand their narrative -


           'I'd like to ask for clarification on whether the CEO, Mr Musk is accusing Vernon Unsworth of being a
           paedophile.'




           Sent from my iPhone

           On 15 Jul 2018, at 17:41, Dave Arnold <dwamold@tesla.com> wrote:

           We're getting multiple inquiries this morning. I'm ignoring.




           From: Sam Teller <steller@tesla.com>
           Sent: Sunday, July 15, 2018 9:00 AM
           To: Laura Hardy
           Cc: Sarah O'Brien; Dave Arnold
           Subject: Re: Media Enquiry re: CEO

           Yeah, unfortunately I think we are just stuck not commenting today. Will let you know if I get anymore.

           On Jul 15, 2018, at 10:51 AM, Laura Hardy <!hardy@tesla.com> wrote:

                   FYI this is getting picked up here. We got cut off (bad signal at Goodwood) and I haven't
                   managed to get him back on the phone but assuming we are leaving it at the tweets•
                   regardless of his questions. Let me know if you want me to send him anything.
                   Thanks
                   Laura


                                                                                                         Exhibit 32
                                                                                                         Page 566TESLA001455
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 29 of 129 Page ID #:1780




                                                                      Exhibit 32
                                                                      Page 567
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 30 of 129 Page ID #:1781




                                EXHIBIT 33




                                EXHIBIT 33



                                                                      Exhibit 33
                                                                      Page 568
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 31 of 129 Page ID #:1782




       From:        James Brickhouse
       Sent:        Tue 8/28/2018 9:48 AM (GMT-07:00)
       To:          "Jupiter Private" <info@jupiter-private.com>
       Cc:
       Bee:
       Subject:     Re: Target visit to 10 Downing Street
       Attachments: PastedGraphic-600001.tiff; image00200002.jpg; PastedGraphic-600003.tiff;
                    image00200004.jpg



       Ok, thank you for this information. We would like you to immediately move forward with
       'leaking' this information to the UK press. Obviously must be done very carefully.

       The line of thinking at this point is as fo llows:

           •   Thailand is the world capital of pedophilia
           •   This man bas frequented Thailand since the 80's - eventually leading to his divorce to his
               wife in the UK.
           •   While the guise of cave exploration is creative, there are amazing and extensive caving
               systems in many places throughout the world - not just in Thailand. Even the most ardent
               supporter of Thai food doesn't eat Thai food every day.
           •   He eventually woman 30 years his minor - whom he met while she was a teenager.
           •   He had been going to Thailand for decades before marrying her. She wasn't the first girl
               he met - and definitely not the first teenager he interacted with.

       Share the facts and as you said, that should be enough for a story.

       But we'd like to make this happen immediately.

       On Tue, Aug 28, 2018 at 2:48 AM Jupiter Military & Tactical Systems < info@ jupiter-
       private.com> wrote:

        Jim,

        Please see below the image of the Target's visit to IO Downing St. I have spoke to David, one of my EP
        Leads this morning w ho spent 20+ yrs in the Met Police & the last 10 yrs with the SO I Royal Protection
        Group and he reached out to former colleagues too confirm hat all visitors to the the PM' s office would go
        through ' DV" discreet vetting. Principally avoid any embarrassment to the UK Gov. I am certain that the
        Target would not have had an invitation extended if there was anything o n his UK record.

        At the event, also attended by the Thai Ambassador Mr Pisanu Suvanajata, Among those attending with their
        fami lies was John Volanthen, one of the British di vers who was part of the team which first discovered
        theboys. He was also one of the three divers who went out as the initial team and who helped place guides in
        the cave to assist others in navigation.

        A lso at the event was Robert Harper, who was part of the team which pinpointed the boys' exact location, and
        Vernon U nsworth, who first alerted cave di vers in the UK to the situation in Thailand.

       ~
       L~'"J




                                                                                                               Exhibit 33
                                                                                                               Page 569MUSK 000410
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 32 of 129 Page ID #:1783




       Kind regards,
       James

       CEO - Qatar & UAE
       Jupiter Military & Tactical Systems
       Al Saad - Area 38
       Street No. 893, Building No. 7
       P .O. Box 22509 Doha
       State of Qatar
       +44 (0) 7917 401601
       info@jupiter-private.com
       www.jupiter-private.com
       Jupiter Executive Protection
       43 Berkeley Square
       Mayfair, London
       W1J 5FJ
       +44 (0) 7917 401601




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                                                                                                                         Exhibit 33
                                                                                                                         Page 570MUSK 000411
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 33 of 129 Page ID #:1784




                                                                      Exhibit 33
                                                                      Page 571MUSK_000412
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 34 of 129 Page ID #:1785




                                                                      Exhibit 33
                                                                      Page 572
                                                                           MUSK_000413
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 35 of 129 Page ID #:1786




                                                                      Exhibit 33
                                                                      Page 573MUSK_000414
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 36 of 129 Page ID #:1787




                                                                      Exhibit 33
                                                                      Page 574
                                                                           MUSK_000415
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 37 of 129 Page ID #:1788




                                EXHIBIT 34




                                EXHIBIT 34



                                                                      Exhibit 34
                                                                      Page 575
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 38 of 129 Page ID #:1789



Subject: Fwd:
From: Dave Arnold <"/o=exchangelabs/ou=exchange administrative group
(fydibohf23spdlt)/cn=recipients/cn=29df0a7448f04984910ec59f5077bd85-dave arnold">
Date: Wed, 05 Sep 2018 16:40:27 -0700
To: Sam Teller <steller@tesla.com>


I do think we should change his email address ...




From: Juleanna Glover <juleanna@ridgelywalsh.com>
Sent: Wednesday, September 5, 2018 4:34 PM
To: Dave Arnold; Sam Teller; Sarah O'Brien
Subject: Fwd: Re:



RidgelyWalsh.com
202.288.2076



Begin forwarded message:


From: Elon Musk <erm@tesla.com>
Date: September 5, 2018 at 4:45:17 PM EDT
To: Juleanna Glover <juleanna@ridgelywalsh.com>
Subject: Re:



Yup

On Sep 5, 2018, at 1:06 PM, Juleanna Glover <juleanna@ridgelywalsh.com> wrote:


The podcast can be very long (3 hrs for Tyson for ex) so pick a hard stop time. Joe
doesn't interrupt much so he will let you roll (he is funny and he curses on air as
no FCC rules for podcasts). Pls figure out what you want to say about the SEC
matters? If you want to say more than is out there or not. Your attorneys should be
in loop on what you plan to say.   I don't imagine Joe will push you on that but
just be ready, so you don't make the investigation harder? Also pls pls pls pls if
Thai diver comes up pls just say you think you have gotten into enough trouble on
that already and are not going to say more?



                                                                          Exhibit 34
                                                                          Page 576
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From: ERM <erm@tesla.com>
Date: Wednesday, September 5, 2018 at 3:49 PM
To: Juleanna Glover <juleanna@ridgelywalsh.com>
Subject: Re: Fwd:




No, it's because a lot of people I trust have recommended that I do this.



On Sep 5, 2018, at 4:40 AM, Juleanna Glover <juleanna@ridgelywalsh.com> wrote:


Ok - Joe Rogan it is! Is it because deGrasse Tyson just did the podcast?



RidgelyWalsh.com


202.288.2076




On Sep 4, 2018, at 6:35 PM, Elon Musk <erm@tesla.com> wrote:


Absolutely. Will have to change my email address.



On Sep 4, 2018, at 3:22 PM, Juleanna Glover <juleanna@ridgelywalsh.com> wrote:


You need to ask your teams to do.this stuff. Where the facts merit, the stories
will come out. It will often take longer than you want but if it can be done -
ethically and appropriately - it will get done.




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Reporters are now sharing your email address with each other so pls let us take the
queries unless you know and deeply trust the writer. You will continue to get more
notes trying to bait you.

RidgelyWalsh.com


202.288.2076




On Sep 4, 2018, at 6:14 PM, Elon Musk <erm@tesla.com> wrote:


Completely agree. I was told about a lot of bad things this guy did and was upset
that no one cared to investigate, so responded in what I felt was off the record. In
the past, Buzzfeed has respected emails prefaced with "off the record", but this
time they did not. It was still one of the dumbest things I've ever done and this
distraction couldn't come at a worse time.




On Sep 4, 2018, at 3:07 PM, Juleanna Glover <juleanna@ridgelywalsh.com> wrote:


We may have to have you do something on the record again soon. We just need to kill
this nonsense, speculation around your mental state. Will work with the team to come
up with strategic options that present you at length - leading the companies, in
charge, droll and self-aware. That in mind, in no universe is it OK for you to
continue to contemplate the sexual predilections of a Thai driver who insulted you
on TV. The facts will come out and you can revisit then.

RidgelyWalsh.com


202.288.2076




On Sep 4, 2018, at 5:54 PM, Elon Musk <erm@tesla.com> wrote:




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Yes, this is extremely bad. I didn't expect Buzzfeed to publish an off the record
email. My intent was to have them investigate and come to their own conclusions, not
publish my email directly.




There is a lot of incriminating evidence about this guy if journalists just bloody
well look. I was told that he spent ~30 years traveling several months each year to
Thailand, including spending a large part of that time at known underage "sex
hotels" in Pattaya Beach. There are no caves of note in the area and he had no
business reason to be there.




Still, I'm a fucking idiot.



On Sep 4, 2018, at 2:43 PM, Juleanna Glover <juleanna@ridgelywalsh.com> wrote:


You know all the below already. He is a serious guy who does impactful work on
climate and it is killing him to see your impact diminished. You do have good
people to handle all of these queries (though the Thai diver matter really should
just be handled by counsel - forever or until discovery yields proof of illegality).




Twitter feed last 6 days though is®




RidgelyWalsh.com


202.288.2076




                                                                         Exhibit 34
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Begin forwarded message:


From: Jeff Nesbit <jeffnesbit@gmail.com>
Date: September 4, 2018 at 5:21:17 PM EDT
To: juleanna@ridgelywalsh.com
Subject: What can I do to help?


I know I'm a broken record ... but why is he emailing with a news organization himself
like this? He absolutely SHOULD NOT be doing this sort of direct media outreach
himself. It clearly blew up in his face, for no good reason. Who on his staff can
handle this for him? One or two more of these and I can guarantee that there will be
a no confidence vote on the BOD led by the big institutional investors. And he will
not survive such a vote, at least not in the public sphere. I will help you however
you tell me to help.


https://www.buzzfeednews.com/article/ryanmac/elon-musk-thai-cave-rescuer-accusations
-buzzfeed-email


Sent from my iPhone




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                                EXHIBIT 35




                                EXHIBIT 35



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                                 Attorneys for Non-Party Journalist
                            15   Ryan Mac
                            16                                 UNITED STATES DISTRICT COURT
                            17                              NORTHERN DISTRICT OF CALIFORNIA
                            18                                      SAN FRANCISCO DIVISION
                            19
                                 VERNON UNSWORTH,                                  Case No. _________
                            20
                                                            Plaintiff,             (C.D. Cal. No. 18-cv-08048-SVW-JC)
                            21
                                        vs.                                        DECLARATION OF RYAN MAC IN
                            22                                                     SUPPORT OF MOTION TO QUASH
                                 ELON MUSK,                                        SUBPOENA ISSUED FROM A CIVIL
                            23                                                     CASE PENDING BEFORE THE UNITED
                                                            Defendant.             STATES DISTRICT COURT FOR THE
                            24                                                     CENTRAL DISTRICT OF CALIFORNIA
                                                                                   AND SERVED ON NON-PARTY
                            25                                                     JOURNALIST RYAN MAC
                            26                                                     Hearing Date: October 18, 2019
                                                                                   Hearing Time: 9:00 a.m.
                            27

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                                 DECL. OF RYAN MAC IN SUPPORT OF MOTION TO QUASH
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                             1           I, RYAN MAC, declare under penalty of perjury pursuant to the laws of the United States
                             2   of America:
                             3      1.         I am a reporter for BuzzFeed News (“BuzzFeed”) and am based in BuzzFeed’s San
                             4   Francisco office. I make this declaration based on my personal knowledge and submit this
                             5   declaration, together with the exhibits annexed hereto, in support of the accompanying motion to
                             6   quash subpoenas (the “Subpoenas”) that were served on me by plaintiff Vernon Unsworth and
                             7   defendant Elon Musk in an action currently pending before the United States Court for the Central
                             8   District of California. Unsworth v. Musk, Case No. 18-cv-08048-SVW-JC (C.D. Cal.) (the
                             9   “Defamation Action”). I am not a party to the Defamation Action.
                            10      2.         On June 21, 2018, BuzzFeed published an article that I wrote with two other
DAVIS WRIGHT TREMAINE LLP




                            11   BuzzFeed reporters entitled “Elon Musk Has Always Been at War with the Media” (the “Musk at
                            12   War” Article), a true and correct copy of which is annexed hereto as Exhibit A.
                            13      3.         On August 29, 2018, BuzzFeed published an article I wrote entitled “The Cave
                            14   Rescuer Elon Musk Called A ‘Pedo’ Has Lawyered Up And Is Preparing A Libel Claim” (the
                            15   “August 29 Article”), a true and correct copy of which is annexed hereto as Exhibit B.
                            16      4.         On September 4, 2018, BuzzFeed published an article I wrote entitled “In a New
                            17   Email, Elon Musk Accused a Cave Rescuer of Being a ‘Child Rapist’ and Said He ‘Hopes’
                            18   There’s a Lawsuit (the “September 4 Article”), a true and correct copy of which is annexed hereto
                            19   as Exhibit C.
                            20      5.         The September 4 Article republishes two emails that Musk sent me on August 30,
                            21   2019. As the September 4 Article reports, the first email was not “off the record” because
                            22   “BuzzFeed News did not agree to that condition of the correspondence” and the second email was
                            23   not “on background” because “BuzzFeed News again did not agree to those terms.”
                            24      6.         I have never spoken with Musk (either in person or telephonically). Upon information
                            25   and belief, all of my written communications with Musk are available to Musk.
                            26                 I declare under penalty of perjury under the laws of the United States of America that
                            27   the foregoing is true and correct. Executed this 12th day of September, 2019 at San Francisco,
                            28   California.

                                                                                   -1-
                                 DECL. OF RYAN MAC IN SUPPORT OF MOTION TO QUASH
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                              EXHIBIT A


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                                                       Tyler Comrie for BuzzFeed News




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                     Caroline O'Donovan



                     Charlie Warzel



                     Ryan Mac




            No one lectures Elon Musk. In April, the head of the
            National Transportation Safety Board discovered this
            after a call about his organization’s investigation into
            one of Tesla Motors’ autopiloted vehicles devolved
            into a heated exchange, leading the billionaire
            entrepreneur to hang up on the federal regulator.
            That fiery interaction eventually leaked to the press
            and ricocheted around the internet as further
            evidence that Musk was losing it.

            As BuzzFeed News has learned, it wasn’t even the first
            time that Tesla’s CEO had gone off on a federal
            organization investigating one of his companies. Yet
            taken together with his other antics and problems of


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            2018, the shocking behavior was viewed by some
            pundits as a prime example of Musk cracking under
            pressure.

            But the thing is: None of this is new for Musk. He has
            always been the architect of his own image and has
            long run roughshod over journalists and his own
            communications team alike. In interviews with
            BuzzFeed News, nine people who previously worked
            with Musk, and who requested anonymity to preserve
            their personal and professional relationships, said
            that while the level of scrutiny on the CEO may be
            new, his behavior is not. What we are seeing is less a
            crack in his well-being than his facade. It is Elon
            unbound.



            In response to questions from BuzzFeed News, a Tesla
            spokesperson said, “This sounds like a very exciting
            story and we can’t wait to read it. Buzzfeed is the
            best!”




            Undeniably, the pressure is on. Tesla, one of three
            companies the 46-year-old Musk runs, has been beset
            by problems. It is behind on production of its latest
            car, the Model 3; the short interest in its stock totals


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            more than $13 billion; and news outlets, including this
            one, have asked questions about its treatment of
            factory workers, lax safety measures, and Autopilot
            technology that doesn’t quite live up to its name.

            In reaction, Musk has gone on the offensive, lashing
            out in public at his perceived enemies — largely in the
            press. “The holier-than-thou hypocrisy of big media
            companies who lay claim to the truth, but publish
            only enough to sugarcoat the lie, is why the public no
            longer respects them,” Musk said on Twitter last
            month during a spat of bad press, which he dismissed
            as the merely the result of a bankrupt media
            ecosystem. “Problem is journos are under constant
            pressure to get max clicks & earn advertising dollars
            or get fired,” he tweeted.

            During an earnings call, he told financial analysts
            their questions were “boring” and took questions
            from a YouTube personality instead. On Twitter, he
            has attacked journalists, accused his critics in the
            media of being in a Big Oil conspiracy, and threatened
            to start a public ranking of news organizations
            ironically named after a former Soviet Union
            propaganda publication. A tweet about union
            organizing at Tesla’s California car factory landed him
            in hot water with both a member of Congress and the
            National Labor Relations Board, while his rogue hang
            up on the NTSB in April led to the regulator removing
            the company from any involvement in the


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            investigation. More recently, he launched an
            investigation into alleged sabotage by a Tesla
            employee, who the company is now suing.

            “As you know, there are a long list of organizations
            that want Tesla to die,” Musk wrote in an all-staff
            email, in which he announced an “in depth”
            investigation and implored employees to “be
            extremely vigilant” of “anything suspicious” in the
            workplace.

            Combined, these events prompted speculation about
            whether or not the billionaire CEO was losing control
            and invited inevitable comparisons to another
            wealthy leader with a predawn Twitter habit.

            Musk has long raged in private at perceived enemies,
            especially in the media. His short temper and
            outbursts have long been legend inside Tesla and
            SpaceX headquarters, according to multiple current
            and former employees. “It doesn’t strike me as some
            drastic change in his personality,” said one former
            employee. “The people who are saying this is how he's
            always been are correct,” said another.

            What’s changed is simply that Musk’s profile has risen
            while his staff’s ability to keep him in check has
            waned. As pressure continues to mount and Musk
            sheds the executives who once provided advice and
            insulation, he’s no longer just the Mars-bound genius


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            with a promising electric car company. Depending on
            who you ask, he’s an icon, an environmental
            champion, or an attention-hungry micromanager,
            wielding Steve Jobs–level influence in 280-character
            Twitter diatribes, occasional public appearances, or
            mocking conference calls with analysts. But no matter
            which Elon you choose, it’s become more apparent
            that there’s no one who can rein him in.

            For example, in June 2016 the National Highway
            Traffic Safety Administration had contacted Tesla as a
            courtesy heads-up that it would be announcing an
            investigation into a May crash that killed the driver of
            a Model S sedan on Autopilot. It was the kind of call
            that, at most companies, would require executive
            restraint and sensitivity. Musk was not originally
            supposed to be on the call with NHTSA officials,
            Tesla’s general counsel, and the head of its Autopilot
            team, but chimed in as the conversation got
            underway. It was unfair that NHTSA was targeting his
            company, he said, noting that skeptics would just use
            the public investigation as evidence that Tesla was in
            trouble.

            After failing to convince the government officials to
            keep their investigation private and forgo their
            announcement scheduled for the next day, Musk went
            ballistic and embarked on a profanity-laced tirade. He
            threatened to sue NHTSA for what he saw as unfair



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            scrutiny and then abruptly disconnected the phone,
            leaving the people left on the line shocked.

            “I couldn’t believe it,” said a former Tesla employee
            familiar with the call.




            Joshua Lott / Getty Images




            According to those who have worked closely with
            him, Musk’s recent public outbursts may have less to
            do with a desire to be a media critic and more to do
            with a long-standing business strategy, where he’s
            leveraged his popularity for press coverage for years.
            His moonshot ideas, unfiltered chatter with reporters,
            and direct engagement with customers have won him
            a legion of adoring fans.


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            “Historically, we have been able to generate
            significant media coverage of our company and our
            vehicles, and we believe we will continue to do so,”
            read one recent Tesla financial filing, alluding to its
            CEO’s cult of personality. “To date, for vehicle sales,
            media coverage and word of mouth have been the
            primary drivers of our sales leads and have helped us
            achieve sales without traditional advertising and at
            relatively low marketing costs.”

            Indeed, Musk has always paid close attention to
            coverage of himself and his companies. In the early
            days of Tesla, he bristled when media coverage
            shunned him in favor of then-CEO Martin Eberhard.
            Emails dating back to 2006 show that even then, as a
            successful two-time founder of online local directory
            startup Zip2 and online payments firm PayPal, he was
            conscious of his public perception. In one email, he
            told Tesla’s earlier PR team that he was “incredibly
            insulted” when a New York Times story about the
            company failed to mention him.




            What rankles Musk the most, according to former
            communications employees, is anything he perceives
            to be inaccurate reporting — which is frequently a
            stand-in for any coverage that isn’t positive. Former

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            employees remember him being easily angered and
            “extraordinarily vindictive,” no matter how small the
            outlet or tempered the critique.

            In 2009, he called a Times contributor “a huge
            douchebag and an idiot” in an interview for penning a
            piece that asked why taxpayer-backed federal loans
            should be used to help what was then a struggling car
            manufacturer. The following year, Musk wrote an
            essay, published in Business Insider and other outlets,
            comparing a reporter for VentureBeat to disgraced
            journalist Jayson Blair for writing about how his
            divorce could materially affect Tesla’s business and
            should have been disclosed in its initial public
            offering documents.

            Yet as Musk’s celebrity grew he realized he no longer
            needed to go to news outlets to dispute negative
            stories. Musk has invested in building a relationship
            with his fans for years. He could take publications to
            task in company blog posts, sometimes directly
            drafting responses for Tesla or SpaceX himself,
            according to his communications staffers. Meanwhile,
            Twitter — where he started an account in 2009 — has
            become an ideal platform for activating his army of
            supporters. “He’s so well-known that anything he says
            is reported upon and analyzed,” said a person who’s
            worked with him.




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            In 2013, Musk tweeted that a Times review that said
            Tesla car batteries die faster in cold weather was
            “fake,” and published a detailed blog post refuting its
            points. A former employee (who didn’t work for Musk
            at the time) remembered thinking he had been
            “publicly very aggressive” toward the reporter, John
            Broder, and the Times, whose own public editor later
            found issues with the piece.

            That same year, Musk also raged over news stories
            about Tesla car battery fires. From Musk’s perspective,
            former employees said, the number of Tesla battery
            fires was relatively minuscule in comparison to the
            total number of car fires per year, which number
            somewhere around 170,000. The perceived
            discrepancy in scrutiny “deeply frustrated” Musk, one
            former staffer said, and he focused that frustration on
            the media, much in the same way as he’s doing now.

            This pattern has continued over the last few years. In
            2015, Musk called a Wall Street Journal story on
            employee churn at Tesla “asinine” during a press
            conference in Detroit. After a story about Tesla’s foray
            into China from Bloomberg News reporter Dana Hull,
            Tesla and SpaceX communications staff were
            instructed to ignore her calls and emails, according to
            multiple sources.

            One former senior employee told BuzzFeed News that
            Musk would stew over articles that were “largely very


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            fair and balanced,” messaging reporters personally or
            enlisting communications representatives to fight for
            corrections. One editor at a major US-based media
            outlet described the behavior as “active and
            aggressive,” noting that Musk’s communications
            representatives reached out to the highest levels of
            the company’s editing and business structure to
            complain about coverage. (That editor did not want
            his publication to be identified, fearing that Musk’s
            companies would cut off contact.)

            People familiar with Musk who spoke with BuzzFeed
            News didn’t see much of a difference between these
            blowups and Musk’s recent behavior. “Pravduh.com,”
            Musk’s hypothetical website for crowd-ranking
            journalism, simply “takes an ongoing fight with the
            press to a new level,” said one former staffer.




            Mark Brake / Getty Images



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            This obsession with the media makes working in
            communications under Musk, whether at Tesla or
            SpaceX, an unpredictable and grueling gig. Multiple
            former staffers recalled being kept up late or woken
            up in the middle of the night because Musk was upset
            about a headline or an article. Two other former
            senior employees described Musk as notoriously thin-
            skinned. “He'll read an obscure critical post by, like,
            some Belgian blogger at 3 in the morning and he'll
            wake up people on the comms team and demand this
            person be crushed,” one former employee said. “It's all
            utterly disproportionate in response.”

            “You don’t sleep very much when you’re in
            communications at Tesla, because you don’t know
            what’s going to happen,” said another former worker.

            While some CEOs expect their communications team
            to draft emails, write speeches, and proofread tweets,
            Musk’s style is totally off the cuff. People who worked
            with him described being afraid to contradict or
            correct him. Said one former employee, “My
            experience was is that he is his own chief
            communications officer.” Asked about Musk’s
            relationship with his communications team, a second




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            person who worked closely with Musk said, “What
            comms team? I think the comms team is just Elon.”

            Another former employee recalled one of Musk’s late-
            night Twitter excursions in January 2012 when,
            unbeknownst to anyone at the company, he hinted at
            a separation from then-partner Talulah Riley. Hannah
            Elliott, then a reporter for Forbes magazine, saw the
            tweet the next morning and messaged Musk, leading
            the Tesla CEO to call her and divulge more about his
            personal life without notifying his communications
            staff. After finding out later that day, Tesla’s PR team
            went into damage control mode, leading Musk to call
            Elliott back and ask that she not use some of the more
            personal details that he discussed during their
            conversation.



            More recently, Musk has clashed with his PR staff
            over Tesla’s communication around its cars’ driver-
            assistance feature, Autopilot. In May 2016, following
            coverage around the death of a driver in Florida whose
            vehicle was on Autopilot, Musk urged his team to fix
            the narrative with outlets honing in on the fact that
            that it was one of the first known automobile deaths
            of its kind. While he wanted his company’s response
            to focus on statistics — noting the seeming lower rate
            of fatalities on Autopilot — those internally urged
            Musk to be more compassionate to customers,
            particularly the victim.


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            Ultimately, Musk won out. In a blog post titled “A
            Tragic Loss” on June 30, the company detailed how the
            first known fatality on Autopilot took 130 million
            miles compared to an average 94 million per US
            driving fatality, before noting in the last paragraph
            that “the customer who died in this crash had a loving
            family and we are beyond saddened by their loss.”
            Musk also began defensively tweeting about Autopilot
            that July, focusing on the numbers and sharing
            examples of how Autopilot may have saved a life,
            while a second company blog post, cutely titled
            “Misfortune,” attempted to shoot holes in a story by
            Fortune magazine. “It felt like a cover-our- ass
            moment, rather than a moment to show we care
            about our customers,” said one former employee.

            “Elon is an engineer and that’s how he views the
            world,” that person continued. “But sometimes he
            lacks that compassion and empathy.”




            The lack of control and continual need to put out PR
            fires wore on professionals, even those who personally
            liked Musk and believed in the missions of Tesla and

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            SpaceX. Tesla is known for a high rate of turnover, and
            some communications staffers only last a few months.
            Some have done multiple stints, though have left or
            were fired after clashing with the chief executive.
            Three people familiar with Musk’s communications
            team independently compared the pressure and
            publicity, and chaos of the job to working in President
            Donald Trump’s White House.

            Despite the outbursts and late-night tweets, there's a
            sense, even among some employees who've departed
            the company, that Musk and his companies are
            engaged in a noble effort to push the boundaries of
            science and technology. One former employee likened
            him to “a martyr” for the cause of "leaving the world a
            better place." In many cases, former employees
            suggest that they've overlooked and excused erratic
            behavior, dismissing it as a side effect of the stress of
            the enormous tasks at hand.

            "Inaccuracies eat at him obsessively," a former
            employee said, noting that when he berated reporters,
            government officials, and analysts, it's because "he's
            frustrated by those who waste his time with things
            they should know." Even employee firings and Musk's
            penchant for distancing himself from employees are
            rationalized. "I would never say he has this controlling
            desire to do all the things, a former employee said.
            "He frankly just loses confidence that others can do it.



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            And hey, who is to blame him? He's the smartest guy
            in the room."

            “People are both proud to be there and also well aware
            that this is a CEO who is extraordinarily difficult to
            work with,” said a person who worked for Musk. “Very
            few work for Elon and imagine they'll work there
            long-term.”




            Vcg / Getty Images




            Musk no longer has to worry that press coverage will
            focus on other employees; after years in the spotlight,
            he is now inseparable from any story about his
            companies — good or bad. So strong is his tie to the
            brand that new employees at Tesla’s automotive
            factories and sales division play quiz games during

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            orientation where they can earn prizes for knowing
            personal facts about the CEO, like where he went to
            school.

            Yet this asset is poised to become a liability for Musk,
            especially as his companies mature and pressure rises.
            Some who’ve worked with him see his recent online
            behavior as a defensive attempt to rally his fans
            around him at a moment of increased scrutiny. “His
            focus is increasingly on the group that’s bought into
            his vision already,” a former senior employee said.
            “It’s just like how Trump throws red meat to the base
            at his rallies. If you go on Reddit every time Elon
            reams out a journalist, they love it and they cheer him
            on.”

            Another former employee said that there have been
            internal pushes to shift Tesla’s messaging to make it
            more about the brand than its billionaire founder,
            something that even Musk initially seemed willing to
            try following a string of escalating encounters around
            car battery fires and Tesla’s battery factory. But
            implementing that was difficult, they said. Musk
            rarely lets the communications department highlight
            other executives at the company in positive media
            stories about Tesla, while the public has become
            accustomed to seeing and hearing every
            announcement about the company from the chief
            himself.



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            Instead, Musk appears to be doubling down on
            himself. Three former senior employees said Musk has
            a habit of pushing out employees who disagree with
            him, and that policy has left him critically isolated
            during a crucial period for Tesla. In the last year, the
            company has been shorn of its head of global sales,
            vice president of finance, and head of Autopilot. Doug
            Field, the engineering executive who was overseeing
            the production of the Model 3, stepped aside so that
            Musk could take over. “If you said no, you're out,” one
            person who worked closely with Musk told BuzzFeed
            News. “He'd find someone who said yes." (A fourth
            former employee disputed this, but still noted that
            he’ll push hard to get his way.)




            Afp / AFP / Getty Images




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            In the weeks since he blew up at analysts on an
            earnings call, Musk has tempered slightly. During a
            June 5 shareholder meeting, he said on stage that his
            CFO, Deepak Ahuja, and general counsel, Todd Maron,
            told him, “You have to watch what words you use in
            these situations,” and implied that he’s trying to
            change his ways.

            Even former staffers who spoke admirably about
            Musk suggested that — despite running three
            companies and ambitions to save the planet and
            explore others — his greatest shortcoming as a leader
            is his inability to withstand criticism. “He’s brilliant
            but his greatest weakness is that defensiveness and an
            obsessive need to correct the record, rather than just
            bite the bullet.”



            “Consider Tim Cook or Zuckerberg,” another former
            employee said. “There are hundreds of websites and
            stories dedicated to making fun of or criticizing them.
            They hardly lose sleep over it. But Elon’s different.”

            And it is precisely that weakness, according to some
            who’ve worked with him, that is now showing. “He's
            getting in his own way more now,” the former
            employee noted.

            Today, the drawbacks of linking a corporate brand so
            inextricably to an executive are being thrown into


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            sharp relief. During a crisis, for example, there’s no
            one else from the executive bench who’s expected to
            step up and take the blame, said a former staffer.
            “With layoffs and profitability being bad, people will
            focus more and more on his personality,” this person
            said. “That's the issue of being CEO-centric.”

            This former senior employee expressed frustration
            watching Musk from afar. “He’s picking nonsense
            fights with reporters who should be natural allies —
            who’re actually excited about what he’s doing,” they
            told BuzzFeed News. “He’s alienating those who could
            be out advocating for him and the coverage about
            Elon has fully become about the coverage and not
            what he’s building.”

            Other employees felt the same way about the double-
            edged sword that is having Elon Musk for a boss. “It’s
            the reason it’s great, and it’s also a risk,” said one. “It’s
            the same with any company that’s so strongly
            identified with any one individual. If you talk to any
            risk management expert, they’ll tell you that’s a risk.
            But that’s the way the company’s run, so that’s the
            way it is: Elon is the company, and the company is
            Elon.” ●




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            Joshua Lott / Getty Images




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             David Paul Morris, Getty Images



             A British man, who Elon Musk called a “pedo” on
             Twitter, has retained legal counsel and is “preparing a
             civil complaint for libel” against the Tesla CEO,
             according to a letter viewed by BuzzFeed News. The
             letter appears to contradict a claim Musk made on
             Twitter on Tuesday that he had yet to see any legal
             repercussions from his allegations, and deepens the
             problems for the already embattled technology
             billionaire.

             A lawyer for Vernon Unsworth, a UK citizen who was
             instrumental in the rescue of 12 children trapped in a
             cave in Thailand, sent Musk a letter earlier this month
             notifying him of a possible lawsuit, after the Tesla
             chief’s outburst against his client in July. Musk
             previously made the allegations against Unsworth
             without any evidence, before issuing an apology and
             deleting the offending tweets.

             On Tuesday, the Tesla and SpaceX founder reignited
             the controversy on the social network by suggesting
             that Unsworth’s lack of legal action against him
             constituted something suspicious and that his
             original allegation of pedophilia should be
             investigated. BuzzFeed News, however, confirmed
             that Unsworth retained legal representation and sent


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             Musk a letter dated Aug. 6 detailing a possible lawsuit
             for the “false and defamatory statements.”

             “You published through three different tweets to your
             twenty-two million followers that Mr. Unsworth
             engages in the sexual exploitation of Thai children,
             and you did so at a time when he was working to save
             the lives of twelve Thai children,” writes Unsworth’s
             lawyer L. Lin Wood, an Atlanta-based defamation
             expert. “You did so without any basis. According to a
             subsequent Twitter post, you did so out of anger.”

             The possible lawsuit highlights the dangers that Musk
             could face for his increasingly erratic behavior on
             Twitter, which has landed him in hot water on
             multiple occasions in 2018. Earlier this month, Musk
             unexpectedly tweeted that he was exploring the
             possibility of taking Tesla private and that he had
             “funding secured” to do so, igniting a public market
             frenzy. The bid ultimately went nowhere, and the
             Securities and Exchange Commission is now
             reportedly investigating Musk and Tesla over the
             bizarre sequence of events.

             When contacted over email by BuzzFeed News, Musk
             did not address the legal letter he received.

             “Have you actually done any research at all?” he
             wrote. “For example, you incorrectly state that he is a




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             diver, which shows that you know essentially nothing
             and have not even bothered to research basic facts.”

             BuzzFeed News confirmed with a source familiar with
             Unsworth that the cave rescuer has diving experience
             and maintains all the necessary diving equipment.




             A copy of the letter sent to Musk’s Los Angeles home from L. Lin Wood, a
             lawyer representing British diver and cave rescuer Vernon Unsworth.
             L. Lin Wood



             A Tesla spokesperson did not immediately respond to
             a request for comment. A representative for Wood


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             also did not immediately respond to a request for
             comment.

             Unsworth did not respond to BuzzFeed News’ request
             for comment. Reached by Sky News on Wednesday, he
             told the British news outlet “it’s all being dealt with,
             that’s all I can say.”

             Musk’s spat with Unsworth began last month, after
             the British diver and spelunker dismissed Musk’s
             attempt to build a submarine to rescue Thai boys
             trapped in an underwater cave as a publicity stunt in
             an interview. Following that, Musk took to Twitter to
             suggest that Unsworth was in Thailand to engage in
             the sexual exploitation of minors and then directly
             called him a “pedo guy.” In a third tweet, he told
             another Twitter user that he’d “bet a signed dollar it’s
             true.” All three of those tweets were eventually
             deleted, with Musk tweeting out an apology in July
             stating “his actions against me do not justify my
             actions against him.”

             In interviews with other outlets, Unsworth was not
             clear if he would pursue action against Musk. His
             lawyer’s letter from earlier this month is the clearest
             indication that he is seriously considering a lawsuit if
             Musk does not move to “see the public record
             corrected.”




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             It’s unclear if Musk has seen the letter, which was sent
             to his Los Angeles home, but on Tuesday he wrote in
             an argument with another Twitter user that it was
             odd that Unsworth had not sued him yet, suggesting
             that the British man would have done so if there was
             an allegation worthing pursuing.

             “You don’t think it’s strange he hasn’t sued me?” he
             wrote. “He was offered free legal services.”

             “Did you investigate at all?” Musk continued in
             another tweet, asking the other Twitter user if he’d
             taken the time to investigate the previous, groundless
             allegations that he had made against Unsworth. “I’m
             guessing answer is no. Why?”




             The story has been updated with a comment from
             Tesla CEO Elon Musk.




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                     Ryan Mac



                     Mark Di Stefano



                     John Paczkowski




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            British caver Vernon Unsworth at the Tham Luang cave complex during a
            search for members of a soccer team and their coach in Thailand in June.
            Soe Zeya Tun / Reuters



            Tesla CEO Elon Musk has renewed his attacks against
            a British man who played a key role in the rescue of a
            youth soccer team trapped in a flooded cave in
            Thailand.

            Musk last month apologized for accusing Vernon
            Unsworth of pedophilia after the diver questioned the
            value of Musk’s contribution to the rescue, a small
            submarine that ultimately went unused. But in a
            series of emails to BuzzFeed News, Musk repeated his
            original attacks on Unsworth — and made new and
            specific claims, lambasting the rescuer as a “child
            rapist” who had moved to the Southeast Asian country
            to take a child bride. Unsworth denied Musk's
            accusations through his attorney.

            Though Musk prefaced one email with “off the
            record,” BuzzFeed News did not agree to that
            condition of the correspondence. (Per common


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            journalistic practice, a conversation is off the record
            only if both parties agree to the terms. )

            BuzzFeed News first emailed Musk last Wednesday to
            ask for comment regarding a legal threat made by
            Unsworth’s lawyer in August after the Tesla CEO
            renewed his apparently evidenceless criticism of the
            rescuer in a Twitter argument the day before. Musk
            responded without addressing the substance of the
            legal threat. BuzzFeed News followed up twice, once
            on Wednesday and once on Thursday, and Musk
            responded with two separate emails.




            “I suggest that you call people you know in Thailand,
            find out what’s actually going on and stop defending
            child rapists, you fucking asshole,” Musk wrote in the
            first message. “He’s an old, single white guy from
            England who’s been traveling to or living in Thailand
            for 30 to 40 years, mostly Pattaya Beach, until moving
            to Chiang Rai for a child bride who was about 12 years
            old at the time.”


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            “As for this alleged threat of a lawsuit, which
            magically appeared when I raised the issue (nothing
            was sent or raised beforehand), I fucking hope he sues
            me,” he added.

            It is unclear why Musk believes the allegations against
            Unsworth or what evidence he has to support them.
            Musk did not provide proof of his claims to BuzzFeed
            News, and BuzzFeed News could not verify any of the
            claims after reporting on Unsworth’s background.




            BuzzFeed News



            The Tesla CEO’s continued campaign against
            Unsworth offers a glimpse into the new ability of
            some of the world’s wealthiest and most powerful
            figures to directly attack private citizens who cross
            them — and will test the capacity of traditional legal
            tools against them.

            “Elon Musk can tweet his vindictive and vicious lie
            about Mr. Unsworth a hundred times and it will still
            be a lie,” Unsworth’s lawyer, L. Lin Wood, wrote in a

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            statement. “After deleting the initial accusation and
            tweeting an apology, Mr Musk has continued to
            republish his false and unsupportable accusation. His
            conduct demonstrates that his recklessness is
            intentional and designed to harm Mr. Unsworth.”

            A spokesperson for Tesla did not immediately return a
            request for comment on Musk's newest allegations,
            and referred to a previous statement issued by the
            board in response to a question about its support for
            the company's CEO.

            The feud began in July when Musk tweeted that
            Unsworth was “a pedo guy” after the rescuer called
            the billionaire’s attempt to use a custom-designed
            submarine in the rescue effort a “publicity stunt.”
            Musk later apologized and deleted this tweets, but
            revisited the claim last week in an argument on
            Twitter, asking why Unsworth hadn’t sued yet if the
            accusations were indeed untrue. BuzzFeed News then
            reported that Wood had actually sent Musk a letter
            warning of a possible defamation suit in early August.

            Musk’s renewed attacks on Unsworth come after a
            series of erratic public gestures, notably a widely
            publicized suggestion that he would take Tesla private
            and the narration of his home life by the rapper
            Azealia Banks. And the new accusations leveled at
            Unsworth threaten to undermine a recent charm
            offensive intended to frame the CEO’s erratic


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            behavior as the actions of an overworked luminary
            struggling to maintain his world-changing businesses.
            It’s been a particularly difficult summer for the
            billionaire, marked by Tesla’s missed production
            goals, clashes with reporters, and his failed attempt to
            take his car company private.

            Despite that, Musk still managed to maintain a
            dispute with Unsworth, a 63-year-old cave explorer
            and diver, whom he has now accused of taking a child
            bride.

            BuzzFeed News could find no evidence to support that
            claim, and Musk did not provide any documentation
            to support his accusations. Publicly available legal
            documents do nothing to support Musk’s claims:
            BuzzFeed News could not immediately locate any
            criminal records for Unsworth in the UK.

            Separately, a Thai immigration official named Ploy
            Pailin told BuzzFeed News that an individual on a visa
            would likely not have it renewed if they had been
            found guilty of criminal activity in the country. Pailin
            also said that while foreigners applying for visas in
            Thailand do not undergo mandatory background
            checks, those who are found guilty of serious crimes
            are often blacklisted by the government and can be
            removed from the country.




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            BuzzFeed News



            BuzzFeed News also spoke with Woranan
            Ratrawiphukkun, a Thai woman who is Unsworth’s
            longtime girlfriend. She said she had been with
            Unsworth for more than seven years and has posted
            numerous photos about their relationship on social
            media dating back several years. Unsworth, she added,
            spends part of the year in Thailand and part of the
            time in the UK.

            Ratrawiphukkun, who said she is 40, declined to
            comment on Musk’s allegations against Unsworth,
            and referred a reporter to his lawyers.

            Among Musk’s other claims about Unsworth is that he
            was not part of the actual dive team in the Thailand
            cave rescue. While Unsworth did not dive for the
            mission, media reports and other people who were
            part of the rescue cited the Brit as instrumental to the
            effort, as he had previously mapped and explored



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            some of the cave system and recruited some of the
            divers who went into the cave.

            “He may claim to know how to cave dive, but he
            wasn’t on the cave dive rescue team and most of the
            actual dive team refused to hang out with him,” Musk
            wrote in one email. In another email in which Musk
            wrote “on background” — BuzzFeed News again did
            not agree to these terms — the Tesla CEO said, “Never
            saw Unsworth at any point. Was told he was banned
            from the site.”

            A British diver on the rescue mission who had
            previously been in contact with Musk, Rick Stanton,
            denied those claims.

            “I've no idea what gave you those concerns about
            Vern,” Stanton wrote over Facebook Messenger. “They
            are completely unfounded. He was never kicked off
            site by anyone and worked continuously on the rescue
            for the full duration. He was pivotal to the entire
            operation.”

            Two Australian specialists who were brought in by the
            Thai government to aid the Thai cave rescue
            operation, Richard Harris and Craig Challen, also
            rejected Musk’s allegation.

            “Vern seemed like an excellent guy and absolutely
            vital to the mission,” said Harris, who, with Challen,


                                                                                    Exhibit 35
                                                                                    Page 622
https://www.buzzfeednews.com/article/ryanmac/elon-musk-thai-cave-rescuer-accusations… 9/13/2019
In A New Email, Elon Musk Accused A Cave Rescuer Of Being A “Child Rapist” And… Page 9 of 16
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            helped in the sedation of the Thai boys before they
            were brought out of the cave by the British divers.
            “You must be confusing him with someone else.”

            “He was pivotal with his knowledge of the cave. [The]
            rescue wouldn’t have happened without him
            recommending the Brits were called,” Harris said.

            Photos and videos posted on Facebook by Woranan
            and members of the local Thai news media show
            Unsworth at the site through the duration of the
            operation, which lasted more than two weeks in the
            country’s Chiang Rai province. Some of those photos
            show Unsworth posing with other British members
            involved with the rescue.

            In his second email to BuzzFeed News, Musk
            commented on Unsworth’s interview with CNN.

            “Unsworth also said I was asked to leave by the Thai
            govt, which is utterly false. Thai Prime Minister
            thanked me personally per attached docs. I went all
            the way to area 3 with the Thai SEAL team, who were
            awesome.”

            Unsworth did say that Musk was asked to leave the
            cave in the interview, but did not specify who had
            asked him.




                                                                                    Exhibit 35
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https://www.buzzfeednews.com/article/ryanmac/elon-musk-thai-cave-rescuer-accusations… 9/13/2019
In A New Email, Elon Musk Accused A Cave Rescuer Of Being A “Child Rapist” An… Page 10 of 16
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            Musk also supplied a letter to BuzzFeed News from
            the Thai prime minister thanking him for his team’s
            involvement in the rescue. “I wish to convey my deep
            appreciation to you and your engineering team for
            your expeditious and extraordinary efforts in
            constructing the Space-X mini-submarine 'Wild Boar'
            to assist the rescue operation of the Moo Pa Academy
            Football team trapped in Tham Luang Cave, Chiang
            Rai province,” wrote General Prayut Chan-o-cha.




                                                                                    Exhibit 35
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https://www.buzzfeednews.com/article/ryanmac/elon-musk-thai-cave-rescuer-accusations… 9/13/2019
In A New Email, Elon Musk Accused A Cave Rescuer Of Being A “Child Rapist” An… Page 11 of 16
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            Elon Musk provided to BuzzFeed News



            In addition, Musk claimed that the mini-sub, which
            ultimately was not used in the rescue, was built to
            Stanton’s specifications, and that it was not deployed
            only because too much water had been drained from
            the cave. Stanton, however, denied that was the
            reason, and said he did not recall providing exact
            specifications to Musk.


                                                                                    Exhibit 35
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https://www.buzzfeednews.com/article/ryanmac/elon-musk-thai-cave-rescuer-accusations… 9/13/2019
In A New Email, Elon Musk Accused A Cave Rescuer Of Being A “Child Rapist” An… Page 12 of 16
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            “We didn't use the tube because rescue operations
            were already well underway and it didn't have the
            necessary life support systems,” Stanton said to
            BuzzFeed News on Facebook Messenger. “Essentially,
            it wasn't developed enough. I do think it has promise
            in certain situations and I hope they keep working on
            it to get it in shape for evaluation and to be
            considered as a viable alternative in future
            underwater rescue scenarios.”

            In another claim, Musk noted that “the alleged threat
            of a lawsuit” from Unsworth “magically appeared
            when I raised the issue” on Twitter last week and that
            nothing had been sent prior to his outburst. L. Lin
            Wood, Unsworth’s lawyer, provided BuzzFeed News
            with confirmation showing that he had sent a note
            titled “Fwd: Defamation of Vernon Unsworth”
            containing the legal letter to the appropriate email
            address for Musk’s office at SpaceX on Aug. 6.

            BuzzFeed News corresponded with the Tesla and
            SpaceX CEO at a separate, personal email address that
            two sources confirmed belonged to Musk. One source,
            who had previously worked for Musk, noted that the
            email address can be accessed by the billionaire and
            his assistants. The source noted that it was not
            uncommon for Musk to personally respond to
            reporters and other people through that account.




                                                                                    Exhibit 35
                                                                                    Page 626
https://www.buzzfeednews.com/article/ryanmac/elon-musk-thai-cave-rescuer-accusations… 9/13/2019
In A New Email, Elon Musk Accused A Cave Rescuer Of Being A “Child Rapist” An… Page 13 of 16
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            Wood did not respond to questions asking him to
            more specifically address each of Musk’s accusations,
            but suggested that he was moving closer to legal
            action.

            “Today the rich and powerful seem all too ready to
            tweet falsities in the hope and expectation that their
            wealth and position will protect them,” he wrote in a
            statement. “Pedophilia is too serious an issue to leave
            unchallenged. If Mr. Musk believes his wealth affords
            him protection from his lies and Twibels, he is sadly
            mistaken.”

            Here are the emails Elon Musk sent to BuzzFeed
            News reporter Ryan Mac


                  From: Elon Musk < redacted >
                  Date: Thu, Aug 30, 2018 at 6:43 PM
                  Subject: RE: BuzzFeed News: Unsworth legal
                  letter
                  To: "ryan.mac@buzzfeed.com"


                  Off the record


                  I suggest that you call people you know in
                  Thailand, find out what’s actually going on
                  and stop defending child rapists, you fucking
                  asshole. He’s an old, single white guy from
                  England who’s been traveling to or living in
                  Thailand for 30 to 40 years, mostly Pattaya

                                                                                    Exhibit 35
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https://www.buzzfeednews.com/article/ryanmac/elon-musk-thai-cave-rescuer-accusations… 9/13/2019
In A New Email, Elon Musk Accused A Cave Rescuer Of Being A “Child Rapist” An… Page 14 of 16
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                  Beach, until moving to Chiang Rai for a child
                  bride who was about 12 years old at the time.
                  There’s only one reason people go to Pattaya
                  Beach. It isn’t where you’d go for caves, but it
                  is where you’d go for something else. Chiang
                  Rai is renowned for child sex-trafficking.


                  He may claim to know how to cave dive, but
                  he wasn’t on the cave dive rescue team and
                  most of the actual dive team refused to hang
                  out with him. I wonder why ...


                  https://www.google.com/search?
                  q=chiang+rai+child+trafficking&ie=UTF-8&oe=UTF-8&hl=en-
                  us&client=safari


                  As for this alleged threat of a lawsuit, which
                  magically appeared when I raised the issue
                  (nothing was sent or raised beforehand), I
                  fucking hope he sues me.


                  ***
                  From: Elon Musk < redacted >
                  Date: Thu, Aug 30, 2018 at 7:16 PM
                  Subject: Fwd: Letters
                  To: "ryan.mac@buzzfeed.com"
                  On background


                  Unsworth also said I was asked to leave by the
                  Thai govt, which is utterly false. Thai Prime

                                                                                    Exhibit 35
                                                                                    Page 628
https://www.buzzfeednews.com/article/ryanmac/elon-musk-thai-cave-rescuer-accusations… 9/13/2019
In A New Email, Elon Musk Accused A Cave Rescuer Of Being A “Child Rapist” An… Page 15 of 16
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                  Minister thanked me personally per attached
                  docs. I went all the way to area 3 with the Thai
                  SEAL team, who were awesome. Never saw
                  Unsworth at any point. Was told he was
                  banned from the site.


                  It is also total bs that the mini-sub wouldn’t
                  fit through the caves. It was designed and
                  built to specifications provided to me directly
                  by Stanton and the actual dive team. The only
                  reason it wasn’t used was that they were able
                  to drain almost all the water out of the caves,
                  so the underwater portion was very short, and
                  the monsoon arrived later than expected.


                  Those pumps were critical. Some of the Tesla
                  team helped with electrical power, but major
                  credit to whoever provided those pumps. They
                  were amazing. I’m told they were from some
                  company in India.




                                                                                    Exhibit 35
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https://www.buzzfeednews.com/article/ryanmac/elon-musk-thai-cave-rescuer-accusations… 9/13/2019
In A New Email, Elon Musk Accused A Cave Rescuer Of Being A “Child Rapist” An… Page 16 of 16
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https://www.buzzfeednews.com/article/ryanmac/elon-musk-thai-cave-rescuer-accusations… 9/13/2019
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                                EXHIBIT 36




                                EXHIBIT 36



                                                                      Exhibit 36
                                                                      Page 631
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From:               Erica Chen [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                   {FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=F37D6BAB915D4703A7F37A979FB707E9-ERICA CHEN ]
Sent:              7/16/2018 4:31:12 PM
To:                 DL-USComms [dl-uscomms@tesla.com]
Subject:            Re: Coverage on E's tweet



Associated Press reports Elon "has fought back, often around the clock on Twitter," but he "may have gone one tweet
too far." Jalopnik wonders, "How can someone be so accomplished, so successful, so adored by so many people and yet
still be so wildly, uncontrollably insecure that any amount of entirely reasonable criticism triggers a response like this?"

Representatives of T. Rowe Price, Fidelity Investments and Baillie Gifford - Tesla's three largest shareholders, behind
Musk himself - declined to comment. Gene Munster said the tweets raised questions about Elon's distractibility and
"maturity," adding, "This crossed a line, and it needs to stop." Gordon Johnson, the managing director of investment
research firm Vertical Group, said, "This thing is unraveling," adding, "You had a very big shareholder last week say they
want him to focus on executing and stop with the tweets - and then, this weekend, you get more tweets. What's his
angle? What is he doing? ... He keeps promising all of these things, and he keeps missing, and he's not being held to
task."

AP also mentions, "For the first four months of the year, Musk was averaging around 100 tweets per month. But the
tweets spiked to about 400 per month starting in May as Musk was under pressure to raise production of the Model 3."

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             crrut~ng ·!.l!lOOr proswr~. Bi:rt tnooe woo ·know him best ff/ ttlls is notl'lirt«
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Associated Press, Elon Musk's Social Media Conduct May Be Bad for His Business
Bloomberg TV, Musk's Twitter Controversy
The Washington Post, Elon Musk's ''pedo" attack rattles Tesla investors: "This thing is u nraveling"_
MarketWatch, Tesla shares, at lowest l n six ·weeks, fall further in late trading
Business Insider, Tesla slides after an eventful weekend for Elon Musk
Fast Company, Elon Musk ;:iccuses Thai cave rescue diver of being a pedophile
SF Chronicle, Uon Musk's "pedo guy" cave tweet could hurt Tesla
The Mercury News, Has Elon Musk 1wne too far with tweet about Thai cave rescue diver?


                                                                                                         Exhibit 36
                                                                                                         Page 632TESLA000269
   Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 95 of 129 Page ID #:1846
Jalopnik, Now We Know For Sure: Elon Sucks Uke All These Jackasses Suck
The Daily Beast, Ekm Musk Joins the Fringe Right in CaHing Hb Foe a 'Pedo'
Futurism, Electric C:irs Ar0. Too Important For Elon Musk to Put at Risk



From: Erica Chen <echen@tesla.com>
Date: Monday, July 16, 2018 at 1:19 PM
To: DL-USComms <DL-USComms@tesla.com>
Subject: Re: Coverage on E's tweet

Media continue to cover E's tweet, with some stories mentioning that the "outburst" comes "just a week after he said in
a Bloomberg interview that he would try to be less combative on Twitter." Reuters notes that a number of investors and
analysts believe his comments are adding to their concerns that he's distracted from Tesla's main business. James
Anderson of Baillie Gifford called the events "a regrettable instance" and said he had reiterated to Tesla the need for
"peace and execution" of its core business. GQ comments, "If Musk can't have the credit, he'll make damn sure the
other guy doesn't get it, either," while Mashable suggests, "Here's an easy PR strategy: Never tweet. It's not worth it."

In an opinion piece, Reuters says "firing him for his 'pedo guy' tweet could precipitate a crisis of confidence among
investors. Unlike the eventual ouster of Travis Kalanick at privately held Uber, for a capital-hungry public company that
might prove terminal. Directors could consider stripping him of either the chairman or chief executive title. Or they
could dock his compensation." The piece adds, "At the very least the board should require him to apologize and perhaps
swear off Twitter. To do nothing would send a worrying message: that directors are unwilling or unable to rein in Musk's
more troubling traits."

KBB analyst Rebecca Lindland believes his comments could hurt sales and ultimately anger investors. "When you're
looking to expand the appeal of your product beyond innovators themselves, beyond early adopters ... you've got to be
careful," she said, "You've got to start acting like a CEO."

Reuters, Tesla shares faH 3.5 percent after CEO Musk abuses British diver
Reuters BreakingViews, Ube! risk
Financial Times, Tearnwork in Thailand triumphs over solo ego.. [full text below]
NY Daily News, Uon Musk tries to help, but does not alwavs succeed
CNN, Will Elon Musk's antics hurt his businesses'?
CNN, Elon Musk makes unfounded accusation against Thal cave rescuer
Fortune, Elon Musk Spins Out of Control
The Onion, Elon Musk Insists He'd Be Much More Innovative Pedophile Than Thailand Rescue Worker
Business Insider, Elon Musk is at the center of an astonishing number of bizarre news stories and public feuds - here
are all of the Tesla CEO's unusual recent moments in the spotlight
Forbes, Will The Re<JI Elon Musk Please Stand Up
GQ. Elon Musk Suddenly Incapable of Not Looking Like an Ass in Public
Ars Technica, Elon Musk could face lawsuit for calling cave rescuer a ''pedo guy"
Mashable, British rescuer threatens to sue Elon Musk followin~. '..P..~.tj.Q..mn' tweet
The Huffington Post, Elon Musk Lashes Out At Thai Cave Rescuer, Base!essly Calls Him A 'Pedo Guy'
MarketWatch, Tesla shares at worst in six weeks, at bottom of Nasdaq 100
TheStreet, Should Tesla ActuaHy Fire E!on Musk?
The Motley Fool, Why Shares of Tesla Rose 10% in the First Half of 2018
Newsweek, JUSTlNE MUSK'S ESSAY ON MARRIAGE TO ELON RESURFACES AMID 'PEDO' TWEET CONTROVERSY
Inc, Does Elon Musk Need a Vacation?
Inc, Uon Musk Proves Once And For All: Don't Tweet Tired
The Guardian, The Guardian view on Elon ?v1usk: a bil!ionaire in need of hurni!ity
The Guardian, Ekm Musk calls British diver in Thai c;:1ve rescue 'pedo' in baseless attack




                                                                                                     Exhibit 36
                                                                                                     Page 633TESLA000270
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Financial Times, Teamwork in Thailand triumphs over solo ego

Elon Musk plays an understudy role in underwater cave rescue



In a year dominated by geopolitical gloom, there has been one unabashed moment of celebration. The rescue of 12 Thai
boys and their football coach from a deep underwater cave was a global triumph. It was an act of engineering and
strategic brilliance. The international divers acted selflessly in lethal circumstances where success was by no means
guaranteed. Leaders and citizens across the world have lauded their achievement.

Nearly everyone, that is, except Elon Musk. The tech entrepreneur and chief executive of Tesla inserted himself into the
crisis by offering a "mini-submarine" he had constructed to save the children. The experts deemed his solution
inappropriate. Vern Unsworth, one of the British divers behind the rescue, decried Mr Musk's efforts as a "PR stunt" that
had "absolutely no chance of working". Despite his billions and an army of 22m Twitter followers, Mr Musk was
overruled by the experts.

He did not take well to being told to go away. Over the weekend, Mr Musk tweeted that Mr Unsworth (who is
threatening to sue for libel in return) was a "pedo guy" and pledged to take his pod to the cave anyway to prove he was
right. His desire to come out on top of this argument speaks to the feral instincts of his natural Silicon Valley home,
where the winner frequently takes all. In technology, human lives tend not to be directly at stake. Such an emergency
calls for imagination, flexibility and timeliness - not grandstanding and the worst of tech's "move fast and break things"
ethos.

By defaming Mr Unsworth, widely celebrated as a hero, Mr Musk has revealed a less appealing side to his character that
should not escape the attention of investors. Such personal insults suggest he had at least one eye on enhancing his own
reputation through this crisis.

This dispute represents two different worlds colliding. The rescue operation was a team effort; the divers who rescued
the boys brought expertise from Australia, Scandinavia, Belgium and the US. They worked tirelessly together towards a
common goal.

The rescue team is proof of the advantages in having expertise in a specific field. The divers and rescue specialists knew
what had to be done to save the boys and set about it methodically. Mr Musk, on the other hand, believes in the value
of bringing fresh eyes to complex challenges. Yet it would be naive to think that any individual alone was best equipped
to deliver salvation.

Mr Musk's intervention also exposes one flaw in "flat hierarchy", the slimline management structure favoured by Silicon
Valley. If team members defer to each other's expertise then such a structure can encourage useful collaboration. But
reducing layers of management - as Mr Musk has recently done at Tesla - can sometimes allow leaders to t inker and
assert their influence counter-productively. His efforts in Thailand suggest this was precisely the tech-man's approach.

The drama of the underground rescue - whether the trapped Thai children or the Chilean miners in 2010 - is best
managed by largely anonymous individuals working together without ego. They do not depend on chief executives
bubbling with optimism and flashy innovations. An offer to help in such a perilous situation is welcome. Rudely asserting
one's own authority at the expense of the team is not.

The Thai boys were saved by a systematic collective approach. The intervention of Mr Musk, who has conceded he might
be a useful "narcissist", points to the limits of Silicon Valley's "yes, we can" attitude. This was one situation where the
last thing a trained team needed was a dose of disruption.




                                                                                                       Exhibit 36
                                                                                                       Page 634TESLA000271
   Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 97 of 129 Page ID #:1848
CNN, British rescuer considers legal action against Elon Musk over 'pedo' tweet
The Washington Post, Thai cave rescuer considers suing Elon Musk over delet ed ··pedo' tweets
Vox, Elon Musk just called one of the Thai cave rescuers a pedophile
TIME, A Diver Who Helped Rescue Thai Kids May Sue Elon Musk Over His 'Pedo' Tweet
The Guardian, British cave diver considering legal action over Elon Musk's 'pedo' attack
Business Insider, The British diver from the Thai cave rescue whom Elon Musk called a 'pedo' is considering suing the
billionaire
Cnet, Elon Musk's 'pedo guy' tweet fuels polarization problem
NBC, Elon Musk caHs Thai cave rescue diver Vern Unsworth a 'pedo' on Twitter
Gizmodo, Hero Diver Threatens Lawsuit Against Elon Musk for Calling Him a Pedophile
MarketWatch, Uon Musk calls Thailand cave rescue diver a 'pedo' in Twitter outburst
The Cut, Elon Musk Spends Relaxing Weekend Calling Thai Cave Rescuer a Pedophile
NPR, Elon Musk And British Diver Exchange Harsh Words Over Thai Cave Rescue
Newsweek, 'PEDO GUY'·····ELON MUSK FIRES B/\CK /-\T BRITISH DlVER WHO LED RESCUE OF THA l SOCCER TEAM
The Hill, British diving experts considers legal action against Elon Musk for calli ng him 'pedo g~~y:.
Inc, Elon M usk's Harmful Twitter /\ttack Is a Major Lesson in Emotional !nt:e!!igence
Slate, Elon Musk Calls Diver Involved in Thai Cave Rescue Mission a "Pedo" After Diver Criticizes Him
Investor's Business Daily, Tesla Stock Falters After Musk Takes Twitter Battles To New Level
The Next Web, Dear Elon Musk, delete your Twitter account
Autoblog, Elon Musk ca lls Thai cave rescuer a pedophile 011 Twitter
Hypebeast, Elon Musk Calls Rescue Diver a "Pedo Guy" in Twitter Outburst
HighSnobiety, Elon Musk Calls Cave Diver From Thai Rescue a "Pedo" in Twitter Attack
BBC UK, British caver 'could sue' Uon Musk over Twitter attack
Daily Mail UK, Tesla stock PLUMMETS after Elon Musk called British d iver \.-Vho rescued Thai soccer team a 'pedo' and
was unmasked as a top donor to a Republican PAC
The Sun UK, Brit cave hero who saved trapped Thai children threatens to sue Elon Musk for calling him 'a paedo' in vile
Tvvitter rant

The Wall Street Journal, Tesla CEO Elon Musk Lashes Out at British Cave Rescuer in Latest Twitter Outburst

Musk suggested a the diver is a pedophile; "Sorry pedo guy, you really did ask for it"

Tesla Inc. Chief Executive Elon Musk for years has used Twitter to combat critics in ways that few other business leaders
would dare. His latest outburst on the platform, though, was extreme even by his standards.

Mr. Musk took offense at comments from a British cave explorer who dismissed the billionaire entrepreneur's efforts to
rescue the youth soccer team trapped in a Thailand cave as an ill-informed public-relations stunt. He suggested the
critic, Vern Unsworth, was a pedophile in a tweet Sunday.

"Sorry pedo guy, you really did ask for it," read a post on Mr. Musk's official Twitter account early Sunday in response to
the explorer's criticism. The post quickly prompted criticism, eliciting a follow-up from Mr. Musk to someone who
challenged the statement, which read: "Bet ya a signed dollar it's true."

Those posts were deleted later Sunday. A spokesman for Tesla didn't respond to a request for comment. Mr. Unsworth
couldn't be reached for comment Monday in Thailand, but he told Australian television that the dispute wasn't finished
yet.

Tesla shares slid 3.51% to $307.68 in morning trading in New York.

It was the latest example of Mr. Musk's aggressive and sometimes controversial use of Twitter. In recent months, he has
used the platform to criticize regulators, taunt short-sellers and debate people who criticized his political donations.




                                                                                                          Exhibit 36
                                                                                                          Page 635TESLA000273
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From: Erica Chen <echen@tesla.com>
Date: Monday, July 16, 2018 at 12:26 PM
To: DL-USComms <DL-USComms@tesla.com>
Subject: Re: Coverage on E's tweet

"A number of analysts and investors, requesting anonymity, told Reuters that Musk's comments are adding to their
concerns that his public statements are distracting him from Tesla's main business of producing electric cars."

James Anderson of Baillie Gifford called the weekend's events "a regrettable instance" and said he had reiterated to the
company the need for "peace and execution" of its core business.

"Unsworth's wife told Reuters on Monday that her husband was returning to Britain on July 19, where he will speak to
lawyers."

"Tesla spokespeople and lawyers did not respond to emails and phone calls from Reuters."

Reuters, Te sla shares faH 3.S percent aft er CEO Musk abuses British diver



From: Erica Chen <echen@tesla.com>
Date: Monday, July 16, 2018 at 9:02 AM
To: Dl-USComms <Dl-USCornms@tesla.com>
Subject: Coverage on E's tweet

Media report Elon, who "is often quick to attack those who criticize him," is "still mad that h is plan to help out didn't
work, " and is "throwing a fit on Twitter" by "baselessly" accusing a British diver " of being a pedophile." The WSJ reports
Elon uses Twitter "to combat critics in ways that few other business leaders would dare," but " his latest outburst on the
platform, though, was extreme even by his standards." Bloomberg comments, "Controversial outbursts are neith er new
nor unusual for Musk, who frequently spars with critics and investors betting against his company," while CNBC calls it
"a scathing attack." The Washington Post states that Elon "has been arguing with people who accuse him of shoehorning
himself into the drama," which "has, inevitably, led Musk into a rh etorical war with people who actually participated in
the rescue operation." Referring to the recent interview with Bloomberg, Vax mentions, "Last w eek, the Tesla CEO said
he was going to be better on Twitter. Spoiler alert: He's not."

Vernon Unsworth told the Guardian he was " astonished and very angry" at t he attack. Asked if he would consider taking
legal action against Elon, he told reporters: "Yes, it's not finished." Unsworth said he had saved copies of Elon' s tweets
and believed that he had "lost the plot," adding, "I have a lot of support from people around the world astonished by his
unfounded comments." He noted, "I don't know the guy, never met the guy, and don't want t o meet the guy."

James Anderson, a partner at Baillie Gifford, Tesla' s fourth -largest shareholder, told the Guardian in an em ail: " I intend
to convey my - predictable I trust - f eelings to the company tomorrow." He declined t o elaborate.



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The Wall Street Journal, Tesl;:i CEO Elon Musk U:ishes Out at Crftit: in L;:itest Twitter Out bur st [full text belo w]
Financial Times, Elon Musk at tacks Thai cave rescuer in angry t w eet [full t ext belo w]
Bloomberg, Elon Musk Can't Take His Own Advice and Tesla Falls Again
CNBC, TeslJ fa lls 2?,{ afh~ r British diver mulls legal Jct ion over Elon Musk's baseless 'pedo guy' cl aim



                                                                                                               Exhibit 36
                                                                                                               Page 636TESLA000272
   Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 99 of 129 Page ID #:1850
Mr. Musk's seemingly unfiltered use of the platform is unusual among major CEOs, whose public remarks are generally
carefully controlled. The messages are part of a pattern of defiance that has won Mr. Musk many fans and gained him
more than 22 million followers on Twitter, to whom he often promotes new products and features or customer
questions.

The interactions often become hostile. In one particularly testy exchange in May, Mr. Musk fired back at a profane
comment directed his way by tweeting at its author: "Does the psych ward know you smuggled in a mobile phone?"

In May, he waged a lengthy attack on the media following unflattering articles about Tesla, and announced plans to
create a Yelp.com-like website where people can rate the credibility of journalists and news organizations. Mr. Musk
said he would name it Pravda, after the former Soviet Union's main propaganda outlet, then changed it to Pravduh.

The sheer volume of tweets from Mr. Musk is all the more remarkable given the enormous demands on his attention at
Tesla, which has been struggling to sharply increase production of its new sedan, and at his other companies including
rocket maker Space Exploration Technologies Corp., or SpaceX.

Mr. Musk has defended his use of Twitter, while also suggesting he would adjust. "I have made the mistaken
assumption-and I will attempt to be better at this-of thinking that because somebody is on Twitter and is attacking
me that it is open season," Mr. Musk said in an interview with Bloomberg Businessweek. "And that is my mistake. I will
correct it."

Mr. Musk's involvement with the Thai cave drama began on Twitter, when he responded on July 4 to a user asking him
to assist in the rescue. He later posted videos of swimming-pool tests in California of a metal tube that his team
fashioned to carry the Thai boys out of the flooded cave.

Meanwhile, Thai authorities successfully rescued all 12 boys and their coach without Mr. Musk's device.

Mr. Musk, who praised the rescue effort, stopped off to visit the cave on a trip to China and said he was leaving the sub
in case it could be useful in the future.

Mr. Musk chafed at criticism of his effort. "This reaction has shaken my opinion of many people," he tweeted on July 11.
"We were asked to create a backup option & worked hard to do so."

Late last week, a CNN posted a video in which Mr. Unsworth called Mr. Musk's mini-sub a "PR stunt," saying it "had
absolutely no chance of working" because it was too big for the cave. "He can stick his submarine where it hurts," Mr.
Unsworth said.

Sunday morning, Mr. Musk replied to a tweet citing the comments, saying: "Never saw this British expat guy who lives in
Thailand (sus) at any point when we were in the caves," he wrote. "Only people in sight were the Thai navy/army guys,
who were great."

He then challenged Mr. Unsworth to show a video of the rescue, before adding: "You know what, don't bother showing
the video. We will make one of the mini-sub/pod going all the way to Cave 5 no problemo. Sorry pedo guy, you really did
ask for it."

***
Financial Times, E!on Musk attacks Thai cave rescuer in angry tweet

Tesla founder risks serious backlash with unsubstantiated insults

Elon Musk's mounting displays of public irritation risked a serious backlash on Sunday, as he resorted to personal abuse
on Twitter against one of the divers involved in the Thailand cave rescue.


                                                                                                      Exhibit 36
                                                                                                      Page 637TESLA000274
       Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 100 of 129 Page ID
                                        #:1851

The entrepreneur behind Tesla and SpaceX addressed the diver directly in a tweet as "pedo guy" , a common
abbreviation for a paedophile. It was his most strident comment in weeks of lashing out, bringing accusations that he
has misused his powerful position as one of Twitter's most widely followed personalities in order to silence critics.

Mr Musk presented no evidence to support his claims.

The tweet followed a television interview in which Vern Unsworth, a British diver who lives in Thailand, called Mr Musk's
                                       11
attempts to help in the rescue effort a PR stunt".

Mr Musk had instructed his engineers to turn a large canister into an improvised submarine that could be used to ferry
the children trapped by rising water in the cave complex. He also visited the site last week, though the rescue capsule
was not used and the children were rescued by divers.

Asked by reporters what he thought of Mr Musk's submarine idea, Mr Unsworth said: "He can stick his submarine where
it hurts." He added that it "just had absolutely no chance of working", since sharp turns in the caves would have blocked
the rigid canister.

Mr Musk responded on Twitter: "Never saw this British expat guy who lives in Thailand (sus) at any point when we were
in the caves."

He then challenged Mr Unsworth to produce a video to prove his claim, before writing: "You know what, don't bother
showing the video. We will make one of the mini-sub/pod going all the way to Cave 5 no problemo. Sorry pedo guy, you
really did ask for it."

Twitter's policy against abuse forbids behaviour that "harasses, intimidates, or uses fear to silence another user's voice",
though it maintains wide latitude to interpret how the rule is applied. In a standard response, Twitter said its rules
"apply to everyone" who uses the service and that "if a violation is found, action should be taken."

Mr Musk's attacks on critics have become increasingly outspoken in recent weeks as pressure on him has mounted over
production delays at Tesla. With 22.3m followers, his comments are widely seen and sometimes provoke fans into
joining the attacks, as happened after a recent tirade against a female journalist he accused of paying for information
from a former Tesla employee.




                                                                                                       Exhibit 36
                                                                                                       Page 638TESLA000275
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 101 of 129 Page ID
                                 #:1852




                             EXHIBIT 37




                             EXHIBIT 37



                                                                  Exhibit 37
                                                                  Page 639
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 102 of 129 Page ID
                                 #:1853




                                                                  Exhibit 37
                                                                  Page 640
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 103 of 129 Page ID
                                 #:1854




                                                                  Exhibit 37
                                                                  Page 641
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 104 of 129 Page ID
                                 #:1855




                                                                  Exhibit 37
                                                                  Page 642
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                                 #:1856




                                                                  Exhibit 37
                                                                  Page 643
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                                 #:1857




                                                                  Exhibit 37
                                                                  Page 644
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 107 of 129 Page ID
                                 #:1858




                                                                  Exhibit 37
                                                                  Page 645
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 108 of 129 Page ID
                                 #:1859




                                                                  Exhibit 37
                                                                  Page 646
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 109 of 129 Page ID
                                 #:1860




                             EXHIBIT 38




                             EXHIBIT 38



                                                                  Exhibit 38
                                                                  Page 647
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 110 of 129 Page ID
                                 #:1861

                                                              REPORTING TO YOU




Elon Musk Didn't Help Save The Thai
Boys. Now He's Attacking Someone Who
Did.
"Sorry pedo guy, you really did ask for it," the billionaire wrote on Twitter.

By Remy Smidt
Last updated on July 16, 2018, at 5:47 a.m. ET
Posted on July 15, 2018, at 11:16 a.m. ET


Elon Musk is attacking a diver who helped rescue a group of
teenage boys from a Thai cave last week after the rescuer
criticized Musk's mini submarine, which he designed to help with
the mission.




Lucy Nicholson / Reuters


British diver Vern Unsworth called Elon Musk's submarine rescue
plan a "PR stunt." He didElon
                           notMusk
                               holdDidn't
                                    back,Help Savethat
                                          saying   The Thai
                                                       Musk Boys.
                                                              canNow
                                                             Exhibit
                                                             Page 648
                                                                     38 He's Attac
"stick his submarine where it hurts."
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 111 of 129 Page ID
                                 #:1862
           Quoth the Raven
           @QTRResearch

   Cave rescuer on Musk: “It was a PR stunt. It had no chance of
   working.”




      17.3K 7:33 PM - Jul 13, 2018

       6,643 people are talking about this

@QTRResearch / Twitter



In an interview with CNN, Unsworth described Musk's mini submarine
as useless and as nothing more than a grab for attention.

He also said the billionaire was asked to leave the cave.

"It just had absolutely no chance of working. He had no conception of
what the cave passage was like. The submarine, I believe, was about 5-
foot-6 long, rigid, so it wouldn't have gone round corners or round any
obstacles," Unsworth said.

"It wouldn't have made the ﬁrst 50 meters into the cave from the dive
start point. It was just a PR stunt."

Unsworth played an important role in the dangerous mission and
helped to connect British experts and Thai authorities.
                                      Elon Musk Didn't Help Save The Thai Boys. Now
                                                                           Exhibit 38 He's Attac
                                                                            Page 649
He was
Case     a key member of the
     2:18-cv-08048-SVW-JC    team79
                          Document because   of his thorough
                                      Filed 10/07/19 Page 112 ofknowledge
                                                                 129 Page ID
of the cave system, which he spent six years navigating, CNN reported.
                                 #:1863

He also has been involved in smaller cave rescue missions in the UK,
and he advised local authorities to bring on a team of expert divers.

"It was a race against time," he told CNN. "They needed world-class
divers and that's what we got."

The boys were found only 200 meters away from the location where
Unsworth predicted they’d be; it was "probably around about the best
place they could have been," he told the news outlet.



After the interviewer noted that Musk personally visited the
cave, Unsworth replied, "And he was asked to leave very quickly.
And so he should have been." Musk left his mini submarine
there.

           Elon Musk
           @elonmusk


  Just returned from Cave 3. Mini-sub is ready if needed. It is made of rocket parts &amp; named
  Wild Boar after kids’ soccer team. Leaving here in case it may be useful in the future. Thailand is so
  beautiful. https://t.co/EHNh8ydaTT


  10:05 PM - 09 Jul 2018

     Reply       Retweet       Favorite




After the complicated rescue mission started, Musk shared
footage of his mini submarine in action on Twitter. The plan was
for one boy to be placed inside at a time and be transported to
safety.

           Elon Musk
           @elonmusk



  08:55 PM - 08 Jul 2018
     Reply       Retweet       Favorite
                                      Elon Musk Didn't Help Save The Thai Boys. Now
                                                                           Exhibit 38 He's Attac
                                                                                               Page 650
Unsworth's comments did not sit well with Musk. He fired back
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 113 of 129 Page ID
on Sunday morning, saying that       he never saw Unsworth and was
                                 #:1864
never asked to leave.




@elonmusk / Via Twitter: @elonmusk



Musk then responded to a tweet that contained excerpts from a New
York Times op-ed by Zeynep Tufekci titled "What Elon Musk Should
Learn From the Thailand Cave Rescue."

He called Unsworth a "dude" and challenged him.




                                 Elon Musk Didn't Help Save The Thai Boys. Now
                                                                      Exhibit 38 He's Attac
@elonmusk / Via Twitter: @elonmusk                                     Page 651
Then, bizarrely, he called the rescuer a "pedo guy."
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 114 of 129 Page ID
                                 #:1865




@elonmusk / Via Twitter: @elonmusk


Unsworth now says he is considering legal action over the
comments.

He told The Guardian: "I believe he’s called me a pedophile. I think
people realise what sort of guy [Musk] is.”

Asked if he would take legal action, he said: “Yes, it’s not ﬁnished.”

Plenty of people took issue with the billionaire's baseless
accusation that the man who helped with the complicated cave
is a pedophile:

    @elonmusk @zeynep Please delete that. Calling someone pedo is not cool Magnus T
                                                                            @magtroylive

  @elonmusk @zeynep Please delete that. Calling someone pedo is not cool


  02:15 PM - 15 Jul 2018
     Reply      Retweet      Favorite




     @elonmusk @zeynep Elon you should try inventing a device that prevents you   The Glare
  from using Twitter                                                              @TheGlare_TM

  @elonmusk @zeynep Elon you should try inventing a device that prevents you from using Twitter


  02:59 PM - 15 Jul 2018
                                    Elon Musk Didn't Help Save The Thai Boys. Now
                                                                         Exhibit 38 He's Attac
     Reply      Retweet      Favorite                                                    Page 652
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 115 of 129 Page ID
                                 #:1866
           Kumail Nanjiani
           @kumailn


  He didn’t just call the British rescuer in Thailand a pedophile. He called him a pedophile because he
  couldn’t imagine another reason for a white guy to be in Thailand. Which is a false assumption.
  Sometimes white guys visit Thailand to show off their useless submarines.


  08:48 PM - 15 Jul 2018

     Reply      Retweet        Favorite




But Musk responded directly to the criticism by doubling down
on his comment:




@elonmusk / Via Twitter: @elonmusk


He also responded to someone who called his mini submarine
"absurd."




@elonmusk / Via Twitter: @elonmusk


And wrote that his submarine device was sourced expertly on
the internet with "experienced cave experts."




                                      Elon Musk Didn't Help Save The Thai Boys. Now
                                                                           Exhibit 38 He's Attac
                                                                                              Page 653
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 116 of 129 Page ID
                                 #:1867




@elonmusk / Via Twitter: @elonmusk


Eventually, though, Musk deleted the tweets, including the one
calling the cave diver a "pedo."

    Dear Elon Musk, you can’t delete all the screenshots we took. Glengarry Glenn Danzig
                                                                  @totallynuanced

  Dear Elon Musk, you can’t delete all the screenshots we took.


  08:53 PM - 15 Jul 2018

     Reply      Retweet        Favorite




Last week, Musk released correspondence between him and one of the
British divers involved in the complicated rescue mission, Richard
Stanton. Stanton wrote that it was "absolutely worth continuing with
the development of this system."

This release of communications followed heavy criticism of Musk's
plan, and the man, who directed the rescue mission, saying that the
billionaire's design "doesn't ﬁt with our mission to go in the cave."

In a tweet that has since been deleted, Musk brought up
Stanton once again on Sunday:




                                     Elon Musk Didn't Help Save The Thai Boys. Now
                                                                          Exhibit 38 He's Attac
                                                                                           Page 654
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 117 of 129 Page ID
                                 #:1868




@elonmusk / Via Twitter: @elonmusk


Neither Unsworth nor a representative for Tesla immediately
responded to requests for comment from BuzzFeed News.


          Remy Smidt is a reporter with BuzzFeed News and is based in New York.

          Contact Remy Smidt at remy.smidt@buzzfeed.com.

          Got a confidential tip? Submit it here.




                                                                                  Exhibit 38
                                                                                  Page 655
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 118 of 129 Page ID
                                 #:1869




                             EXHIBIT 39




                             EXHIBIT 39



                                                                  Exhibit 39
                                                                  Page 656
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 119 of 129 Page ID
                                 #:1870

                                                                  REPORTING TO YOU



TECH


Elon Musk Has Revisited His Baseless
Pedophile Claims
“You don’t think it’s strange he hasn’t sued me?"

By Ryan Mac
Last updated on August 29, 2018, at 6:30 a.m. ET
Posted on August 28, 2018, at 2:01 p.m. ET




Peter Parks/AFP / Getty Images



Tesla and SpaceX CEO Elon Musk is making life difﬁcult for himself on
Twitter again. Days after picking up the pieces from a failed bid to
take his electric car manufacturer private — an attempt seemingly
initiated by an ill-advised tweet — the billionaire revisited a
groundless accusation he made about a private citizen involved in a
child-rescue operation that caught the world’s attention.

                                     Elon Musk Has Revisited His Baseless Pedophile
                                                                          Exhibit 39 Claims
                                                                          Page 657
Back2:18-cv-08048-SVW-JC
Case in July, Musk was forced to apologize
                         Document           after facing
                                  79 Filed 10/07/19      widespread
                                                    Page 120 of 129 Page ID
condemnation for calling a British diver, who had criticized his
                                 #:1871

attempts to aid a cave rescue effort in Thailand, a “pedo” on the social
media site. On Tuesday, in a chain with several Twitter users,
including the author of this story, Tesla’s CEO revisited the claim,
asking an individual whether they had investigated the pedophile
claim leveled against the diver, Vern Unsworth.

While Tesla’s board members have reportedly asked Musk to stay off
Twitter and focus on building cars and running his company, the 47-
year-old tech luminary seems to have disregarded their guidance
resurrecting a possibly defamatory remark for which he had already
apologized.

A Tesla spokesperson declined to comment.

Tuesday’s back-and-forth began with Musk responding to a tweet
about a previous interview he had given to the New York Times, in
which he allegedly cried and detailed how difﬁcult the last few
months have been for him. In a tweet, however, Tesla’s CEO denied
that he had shed any tears.

“For the record, my voice cracked once during the NY Times article,”
he wrote. “That’s it. There were no tears.”

In the discussion that followed, Drew Olanoff, a former technology
reporter who goes by the name @Yoda on Twitter, joked about Musk’s
defense of himself. In a follow-up message, Olanoff suggested that
Musk would be more believable had he been more dedicated to the
truth before accusing someone of being a pedophile with no evidence.

And that’s when Musk suggested the pedophilia accusation wasn’t
baseless at all.


                           Elon Musk Has Revisited His Baseless Pedophile
                                                                Exhibit 39 Claims
                                                                  Page 658
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 121 of 129 Page ID
                                 #:1872




Twitter / Via Twitter.com



“You don’t think it’s strange he hasn’t sued me?” Musk responded,
suggesting that Unsworth’s lack of legal action against him was a red
ﬂag. “He was offered free legal services.”

“Did you investigate at all?” he said in a follow-up tweet to Olanoff.
“I’m guessing answer is no. Why?”

Olanoff, who told BuzzFeed News that he stood by the point he made,
ﬁred back barbs of his own.

“i think a lot of things are strange, elon,” he wrote. “what i think is
especially strange here is that you're wondering why he hasn't sued
you while the rest of us are wondering why you did something so
egregious that he could sue you for in the ﬁrst place.”

Other reporters, including the author of this post, also tweeted at
Musk, asking about his suggestions to investigate the baseless claims.
The Tesla CEO did not respond to any of those tweets, but did note
that Olanoff should be “a truth-seeker” because of his Twitter name,
@Yoda. It’s unclear what “truths” Musk was referring to.
                            Elon Musk Has Revisited His Baseless Pedophile
                                                                 Exhibit 39 Claims
                                                                   Page 659
Beyond
Case     pondering why a Document
     2:18-cv-08048-SVW-JC private citizen
                                   79 Filedhas yet toPage
                                            10/07/19 sue him,
                                                          122 ofMusk has ID
                                                                129 Page
plenty of other issues on his hands.  The Securities and Exchange
                                  #:1873

Commission is reportedly investigating Musk for his botched attempt
to take Tesla private, while the company is now facing several
shareholder lawsuits over the matter. What’s more, its top
communications executive is leaving after a year that’s been riddled
with scandals, missed production goals, and unexpected tweets from
the company's CEO.

Speaking to Sky News on Wednesday, Unsworth said he couldn't
comment on the matter for legal reasons, but said: "It's all being dealt
with, that's all I can say."



UPDATE
August 28, 2018, at 3:17 p.m.

The story has been updated with a comment from Drew Olanoff.




TOPICS IN THIS ARTICLE

  Twitter



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                                                                                                   Exhibit 39
                                                                                                   Page 660
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 123 of 129 Page ID
                                 #:1874




                             EXHIBIT 40




                             EXHIBIT 40



                                                                  Exhibit 40
                                                                  Page 661
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 124 of 129 Page ID
                                 #:1875

                                                          REPORTING TO YOU



TECH


The Cave Rescuer Elon Musk Called A
"Pedo" Has Lawyered Up And Is Preparing
A Libel Claim
“You published through three different tweets to your twenty-two million
followers that Mr. Unsworth engages in the sexual exploitation of Thai
children, and you did so at a time when he was working to save the lives of
twelve Thai children.”

By Ryan Mac
Last updated on August 29, 2018, at 12:15 p.m. ET
Posted on August 29, 2018, at 10:39 a.m. ET




David Paul Morris, Getty Images



A British man, who Elon Musk called a “pedo” on Twitter, has retained
legal counsel and is “preparing a civil complaint for libel” against the
Tesla CEO, according to a letter viewed by BuzzFeed News. The letter
appears to contradict a claim Musk made on Twitter on Tuesday that
                           The Cave Rescuer Elon Musk Called A "Pedo"     Has Lawyere
                                                                 Exhibit 40
he had yet to see any legal repercussions from his allegations, and
                                                                 Page 662
deepens
Case      the problems forDocument
     2:18-cv-08048-SVW-JC  the already  embattled
                                   79 Filed 10/07/19 technology
                                                      Page 125 of 129 Page ID
billionaire.                      #:1876



A lawyer for Vernon Unsworth, a UK citizen who was instrumental in
the rescue of 12 children trapped in a cave in Thailand, sent Musk a
letter earlier this month notifying him of a possible lawsuit, after the
Tesla chief’s outburst against his client in July. Musk previously made
the allegations against Unsworth without any evidence, before issuing
an apology and deleting the offending tweets.

On Tuesday, the Tesla and SpaceX founder reignited the controversy
on the social network by suggesting that Unsworth’s lack of legal
action against him constituted something suspicious and that his
original allegation of pedophilia should be investigated. BuzzFeed
News, however, conﬁrmed that Unsworth retained legal
representation and sent Musk a letter dated Aug. 6 detailing a possible
lawsuit for the “false and defamatory statements.”

“You published through three different tweets to your twenty-two
million followers that Mr. Unsworth engages in the sexual exploitation
of Thai children, and you did so at a time when he was working to save
the lives of twelve Thai children,” writes Unsworth’s lawyer L. Lin
Wood, an Atlanta-based defamation expert. “You did so without any
basis. According to a subsequent Twitter post, you did so out of anger.”

The possible lawsuit highlights the dangers that Musk could face for
his increasingly erratic behavior on Twitter, which has landed him in
hot water on multiple occasions in 2018. Earlier this month, Musk
unexpectedly tweeted that he was exploring the possibility of taking
Tesla private and that he had “funding secured” to do so, igniting a
public market frenzy. The bid ultimately went nowhere, and the
Securities and Exchange Commission is now reportedly investigating
Musk and Tesla over the bizarre sequence of events.

                            The Cave Rescuer Elon Musk Called A "Pedo"   Has Lawyere
                                                                Exhibit 40
                                                                    Page 663
When
Case   contacted over email
     2:18-cv-08048-SVW-JC     by BuzzFeed
                           Document 79 FiledNews,  Musk
                                            10/07/19 Pagedid
                                                          126not  address
                                                              of 129 Page ID
the legal letter he received.     #:1877



“Have you actually done any research at all?” he wrote. “For example,
you incorrectly state that he is a diver, which shows that you know
essentially nothing and have not even bothered to research basic
facts.”

BuzzFeed News conﬁrmed with a source familiar with Unsworth that
the cave rescuer has diving experience and maintains all the necessary
diving equipment.




                           The Cave Rescuer Elon Musk Called A "Pedo"   Has Lawyere
                                                               Exhibit 40
                                                                   Page 664
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 127 of 129 Page ID
                                 #:1878




A copy of the letter sent to Musk’s Los Angeles home from L. Lin Wood, a lawyer representing British
diver and cave rescuer Vernon Unsworth.
L. Lin Wood



A Tesla spokesperson did not immediately respond to a request for
comment. A representative for Wood also did not immediately
respond to a request for comment.

Unsworth did not respond to BuzzFeed News’ request for comment.
Reached by Sky News on Wednesday, he told the British news outlet
“it’s all being dealt with, that’s all I can say.”
                                     The Cave Rescuer Elon Musk Called A "Pedo"   Has Lawyere
                                                                         Exhibit 40
                                                                                         Page 665
Musk’s
Case     spat with Unsworth
     2:18-cv-08048-SVW-JC    began79
                          Document lastFiled
                                         month,    after
                                             10/07/19    the128
                                                       Page  British
                                                                of 129diver
                                                                       Page ID
and spelunker dismissed Musk’s attempt to build a submarine to
                                 #:1879

rescue Thai boys trapped in an underwater cave as a publicity stunt in
an interview. Following that, Musk took to Twitter to suggest that
Unsworth was in Thailand to engage in the sexual exploitation of
minors and then directly called him a “pedo guy.” In a third tweet, he
told another Twitter user that he’d “bet a signed dollar it’s true.” All
three of those tweets were eventually deleted, with Musk tweeting out
an apology in July stating “his actions against me do not justify my
actions against him.”

In interviews with other outlets, Unsworth was not clear if he would
pursue action against Musk. His lawyer’s letter from earlier this
month is the clearest indication that he is seriously considering a
lawsuit if Musk does not move to “see the public record corrected.”

It’s unclear if Musk has seen the letter, which was sent to his Los
Angeles home, but on Tuesday he wrote in an argument with another
Twitter user that it was odd that Unsworth had not sued him yet,
suggesting that the British man would have done so if there was an
allegation worthing pursuing.

“You don’t think it’s strange he hasn’t sued me?” he wrote. “He was
offered free legal services.”

“Did you investigate at all?” Musk continued in another tweet, asking
the other Twitter user if he’d taken the time to investigate the
previous, groundless allegations that he had made against Unsworth.
“I’m guessing answer is no. Why?”

UPDATE
August 29, 2018, at 12:15 p.m.

The story has been updated with a comment from Tesla CEO Elon
Musk.
                                 The Cave Rescuer Elon Musk Called A "Pedo"   Has Lawyere
                                                                     Exhibit 40
                                                                      Page 666
Case 2:18-cv-08048-SVW-JC Document 79 Filed 10/07/19 Page 129 of 129 Page ID
                                 #:1880

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                                                                                              Exhibit 40
                                                                                              Page 667
